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                               Exhibit G
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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

NATIONAL ASSOCIATION FOR GUN
RIGHTS, and SUSAN KAREN GOLDMAN,
                                        No. 1:22-cv-04774
                 Plaintiffs,
                                        Honorable Harry D. Leinenweber
     v.
CITY OF HIGHLAND PARK, ILLINOIS,        Honorable Jeffrey T. Gilbert
                 Defendant.




                    DECLARATION OF LOUIS KLAREVAS
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                      DECLARATION OF LOUIS KLAREVAS

I, Louis Klarevas, declare:

       1.       I have been asked by the Defendant to prepare an expert declaration addressing

the relationship between assault weapons, large-capacity magazines (LCMs), and mass

shootings, including how restrictions on assault weapons and LCMs impact mass shooting

violence. This expert declaration is based on my own personal knowledge and experience, and,

if I am called as a witness, I could and would testify competently to the truth of the matters

discussed in this expert declaration (“Declaration” hereinafter).

                         PROFESSIONAL QUALIFICATIONS
       2.       I am a security policy analyst and, currently, Research Professor at Teachers

College, Columbia University, in New York. I am also the author of the book Rampage Nation,

one of the most comprehensive studies on gun massacres in the United States.1

       3.       I am a political scientist by training, with a B.A. from the University of

Pennsylvania and a Ph.D from American University. My current research examines the nexus

between American public safety and gun violence, including serving as an investigator in a study

funded by the National Institutes of Health that is focused on reducing intentional shootings at

elementary and secondary schools.

       4.       During the course of my 20-year career as an academic, I have served on the

faculties of the George Washington University, the City University of New York, New York

University, and the University of Massachusetts. I have also served as a Defense Analysis

Research Fellow at the London School of Economics and Political Science and as United States

Senior Fulbright Scholar in Security Studies at the University of Macedonia.

       5.       In addition to having made well over 100 media and public-speaking appearances,

I am the author or co-author of more than 20 scholarly articles and over 70 commentary pieces.

In 2019, my peer-reviewed article on the effectiveness of restrictions on LCMs—ammunition-

       1
           Louis Klarevas, Rampage Nation: Securing America from Mass Shootings (2016).

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feeding devices holding more than 10 rounds of ammunition—in reducing high-fatality mass

shootings resulting in six or more victims killed was published in the American Journal of Public

Health.2 This study found that jurisdictions with LCM bans experienced substantially lower gun

massacre incidence and fatality rates when compared to jurisdictions not subject to similar bans.

Despite being over 3 years old now, this study continues to be one of the highest impact studies

in all of academia. It was recently referred to as “the perfect gun policy study,” in part due to the

study’s “robustness and quality.”3

       6.      In the past four years (since January 1, 2019), I have been deposed or testified in

the following cases: Miller v. Bonta, Case No. 3:19-cv-1537-BEN-JBS, Southern District of

California, and Nguyen v. Bonta, Case No. 3:20-cv-02470-WQH-MDD, Southern District of

California. Miller involves a challenge to California’s restrictions on assault weapons and

Nguyen involves a challenge to California’s regulation limiting the sale of certain firearms to one

purchase per month.

       7.      In 2021, I was retained by the Government of Canada in the following cases

which involved challenges to Canada’s regulation of certain categories of firearms: Parker and

K.K.S. Tactical Supplies Ltd. v. Attorney General of Canada, Federal Court, Court File No.: T-

569-20; Canadian Coalition for Firearm Rights, et al. v. Attorney General of Canada, Federal

Court, Court File No.: T-577-20; Hipwell v. Attorney General of Canada, Federal Court, Court

File No.: T-581-20; Doherty, et al. v. Attorney General of Canada, Federal Court, Court File

       2
          Louis Klarevas, et al., The Effect of Large-Capacity Magazine Bans on High-Fatality
Mass Shootings, 109 American Journal of Public Health 1754 (2019), available at
https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2019.305311 (last accessed December
27, 2022).
       3
          Lori Ann Post and Maryann Mason, The Perfect Gun Policy Study in a Not So Perfect
Storm, 112 American Journal of Public Health 1707 (2022), available at
https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2022.307120 (last accessed December
27, 2022). According to Post and Mason, “Klarevas et al. employed a sophisticated modeling
and research design that was more rigorous than designs used in observational studies. Also,
they illustrated the analytic steps they took to rule out alternative interpretations and triangulate
their findings, for example examining both state bans and federal bans. They helped build the
foundation for future studies while overcoming the limitations of previous research.” Ibid.

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No.: T-677-20; Generoux, et al. v. Attorney General of Canada, Federal Court, Court File No.:

T-735-20; and Eichenberg, et al. v. Attorney General of Canada, Federal Court, Court File No.:

T-905-20. I testified under oath in a consolidated court proceeding involving all six cases in the

Federal Court of Canada.

       8.      A true and correct copy of my current curriculum vitae is attached as Exhibit A to

this Declaration.

       9.      I have been retained by the Defendant to render expert opinions in this case. I

will be compensated at a rate of $600 per hour for any testimony (in deposition and in court), and

am being compensated at a rate of $480 per hour for all other services.

                                            OPINIONS
       10.     It is my professional opinion, based upon my extensive review and analysis of the

data, that (1) in terms of individual acts of intentional criminal violence, mass shootings

presently pose the deadliest threat to the safety of American society in the post-9/11 era, and the

problem is growing nationwide; (2) high-fatality mass shootings involving assault weapons

and/or LCMs, on average, have resulted in a substantially larger loss of life than similar incidents

that did not involve assault weapons and/or LCMs; (3) mass shootings resulting in double-digit

fatalities are relatively modern phenomena in American history, largely related to the use of

assault weapons and LCMs; (4) assault weapons are used by private citizens with a far greater

frequency to perpetrate mass shootings than to stop mass shootings; (5) handguns, as opposed to

rifles (let alone rifles that qualify as assault weapons), are the most commonly owned firearms in

the United States; and (6) states that restrict both assault weapons and LCMs experience fewer

high-fatality mass shooting incidents and fatalities, per capita, than states that do not restrict

assault weapons and LCMs. Based on these findings, it is my opinion that restrictions on assault

weapons and LCMs have the potential to save lives by reducing the frequency and lethality of

high-fatality mass shootings.4

       4
       For purposes of this Declaration, “high-fatality mass shootings” (also referred to as
“gun massacres”) are defined as shootings resulting in 6 or more fatalities, not including the
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I.       MASS SHOOTINGS ARE A GROWING THREAT TO PUBLIC SAFETY
         11.      Examining mass-casualty acts of violence in the United States since 1991 points

to two disturbing patterns.5 First, as demonstrated in Table 1, the deadliest individual acts of

intentional criminal violence in the United States since the terrorist attack of September 11,

2001, have all been mass shootings. Second, as displayed in Figures 1-2, the problem of high-

fatality mass shooting violence is on the rise. To put the increase over the last three decades into

perspective, between the 1990s and the 2010s, the average population of the United States

increased approximately 20%. However, when the number of people killed in high-fatality mass

shootings in the 2010s is compared to the number killed in such incidents in the 1990s, it reflects

an increase of 260%. In other words, the rise in mass shooting violence has far outpaced the rise

in national population—by a factor of 13. The obvious takeaway from these patterns and trends

is that mass shootings pose a significant—and growing—threat to American public safety.


Table 1. The Deadliest Acts of Intentional Criminal Violence in the U.S. since 9/11

         Deaths             Date                       Location               Type of Violence
     1     60          October 1, 2017              Las Vegas, NV              Mass Shooting
     2     49           June 12, 2016                Orlando, FL               Mass Shooting
     3     32           April 16, 2007             Blacksburg, VA              Mass Shooting
     4     27         December 14, 2012             Newtown, CT                Mass Shooting
     5     25         November 5, 2017          Sutherland Springs, TX         Mass Shooting
     6     23          August 3, 2019                El Paso, TX               Mass Shooting
     7     21           May 24, 2022                 Uvalde, TX                Mass Shooting




perpetrator(s), regardless of location or underlying motive. The data on high-fatality mass
shootings is from a data set that I maintain and continuously update. This data set is reproduced
in Exhibit B. Unless stated otherwise, all of the data used to perform original analyses and to
construct tables and figures in this Declaration are drawn from Exhibit B.
         5
          Because the analysis in Section VI of this Declaration necessarily uses data from 1991
onwards, for purposes of consistency (and to avoid any confusion), the analyses in Sections I and
II also use data from 1991 onwards.

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Figure 1. Annual Trends in High-Fatality Mass Shooting Incidents, 1991-2022

            7

            6

            5

            4

            3

            2

            1

            0




Note: The dotted line is a linear trendline. A linear trendline is a straight line that captures the
overall pattern of the individual data points. When there is a positive relationship between the x-
axis and y-axis variables, the trendline moves upwards from left to right. When there is a
negative relationship between the x-axis and y-axis variables, the trendline moves downwards
from left to right.

Figure 2. Annual Trends in High-Fatality Mass Shooting Fatalities, 1991-2022

            100


             80


             60


             40


             20


                0




Note: The dotted line is a linear trendline. A linear trendline is a straight line that captures the
overall pattern of the individual data points. When there is a positive relationship between the x-
axis and y-axis variables, the trendline moves upwards from left to right. When there is a
negative relationship between the x-axis and y-axis variables, the trendline moves downwards
from left to right.

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II.     THE USE OF ASSAULT WEAPONS AND LCMS ARE MAJOR FACTORS IN THE
        RISE OF MASS SHOOTING VIOLENCE

        12.     In addition to showing that the frequency and lethality of high-fatality mass

shootings are on the rise nationally, the data also point to another striking pattern: the use of

assault weapons and LCMs in the commission of high-fatality mass shootings has grown in

sizable proportions. Both assault weapons and LCMs have been used with increased frequency.

As shown in Figures 3 and 4, based on incidents where the details on the use of assault weapons

and LCMs are available, the pattern is particularly marked of late, with over half of all high-

fatality mass shootings in the last four years involving assault weapons and all high-fatality mass

shootings in the last four years involving LCMs. A similar pattern is found when examining

fatalities in the last four years, with 62% of all high-fatality mass shooting deaths in the last four

years involving assault weapons and 100% of all high-fatality mass shooting deaths in the last

four years involving LCMs, as shown in Figures 5 and 6. These trends clearly demonstrate that,

among mass shooters, there is a growing preference for using assault weapons and LCMs to

perpetrate their attacks.6




        6
         Out of all 93 high-fatality mass shootings in the United States between 1991 and 2022,
it cannot be determined whether LCMs were used in 14 of those incidents. Furthermore, for 2 of
these 14 incidents, it is also not possible to determine whether they involved assault weapons.
Therefore, the graphical depictions in Figures 3-6 and the percentages discussed in Para. 12 of
this Declaration are based on calculations that only use data points from the 79 incidents in
which the involvement of assault weapons and LCMs could be determined.

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Figure 3. Share of High-Fatality Mass Shooting Incidents Involving Assault Weapons,
1991-2022



      Last 4 Years                                   53%




      Last 8 Years                                  50%




     Last 16 Years                        38%




     Last 32 Years                      34%


                     0%     20%          40%          60%         80%          100%


Note: The calculations in Figure 3 exclude incidents in which the firearms used are unknown.


Figure 4. Share of High-Fatality Mass Shooting Incidents Involving LCMs, 1991-2022



      Last 4 Years                                                                100%




      Last 8 Years                                                              97%




     Last 16 Years                                                       85%




     Last 32 Years                                                 77%


                     0%     20%          40%          60%         80%          100%


Note: The calculations in Figure 4 exclude incidents in which it is unknown if LCMs were used.




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Figure 5. Share of High-Fatality Mass Shooting Deaths Resulting from Incidents Involving
Assault Weapons, 1991-2022



      Last 4 Years                                          62%




      Last 8 Years                                                68%




     Last 16 Years                                   53%




     Last 32 Years                             46%


                     0%     20%          40%          60%               80%           100%


Note: The calculations in Figure 5 exclude incidents in which the firearms used are unknown.


Figure 6. Share of High-Fatality Mass Shooting Deaths Resulting from Incidents Involving
LCMs, 1991-2022



      Last 4 Years                                                                         100%




      Last 8 Years                                                                        97%




     Last 16 Years                                                                  90%




     Last 32 Years                                                            84%


                     0%     20%          40%          60%               80%           100%


Note: The calculations in Figure 6 exclude incidents in which it is unknown if LCMs were used.




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       13.      The growing use of assault weapons to carry out high-fatality mass shootings is

an obvious theme reflected in the data. The disproportionate resort to assault weapons by

perpetrators of high-fatality mass shootings is another clear theme. Based on National Sport

Shooting Foundation (NSSF) and federal government data, “modern sporting rifles”—which is a

firearm industry term for AR-15-platform and AK-47-platform rifles—make up approximately

5.3% of all firearms in circulation in American society, according to the most recent publicly-

available data (24.4 million out of an estimated 461.9 million firearms).7 And, in all likelihood,

this is an over-estimation because the figures appear to include firearms belonging to law

enforcement agencies in the United States.8 But even using this estimate (which is based in part
on NSSF data), if assault weapons were used in proportion to the percentage of modern sporting

rifles in circulation, approximately 5% of all high-fatality mass shootings would involve assault

weapons. However, as seen in Figure 3 above, civilian ownership rates and mass-shooter use

rates are not similar. Indeed, the current difference is approximately ten-fold, with the rate at


       7
          The 5.3% ownership rate for modern sporting rifles was calculated using NSSF and
Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF) data. The NSSF estimates that
there are approximately 24.4 million modern sporting rifles in civilian hands in the United States
as of the end of 2020 (when the most recent data is available). NSSF, “Commonly Owned:
NSSF Announces over 24 Million MSRs in Circulation,” July 20, 2022, available at
https://www.nssf.org/articles/commonly-owned-nssf-announces-over-24-million-msrs-in-
circulation (last accessed January 3, 2023). In a 2020 report that captured data through the end
of 2018, the NSSF estimated that there were 433.9 million total firearms in civilian circulation in
the United States. NSSF, Firearm Production in the United States with Firearm Import and
Export Data, Industry Intelligence Report, 2020, at 18, available at https://www.nssf.org/wp-
content/uploads/2020/11/IIR-2020-Firearms-Production-v14.pdf (last accessed January 3, 2023).
According to ATF data, in 2019 and 2020, an additional 28.0 million firearms entered the
civilian stock nationwide. ATF, National Firearms Commerce and Trafficking Assessment:
Firearms in Commerce, 2022, at 181, 188, 193, available at
https://www.atf.gov/firearms/docs/report/national-firearms-commerce-and-trafficking-
assessment-firearms-commerce-volume/download (last accessed January 3, 2023). Assuming
these figures reported by the NSSF and ATF are accurate, this brings the estimated number of
firearms in civilian circulation through the end of 2020 to approximately 461.9 million. The
ownership rate is calculated as follows: 24.4 million modern sporting rifles divided by 461.9
million total firearms equals approximately 5.3%.
       8
           ATF, 2022, supra note 5, at 12; NSSF, 2020, supra note 5, at 2-3.

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which assault weapons are now used to commit gun massacres far outpacing the rate at which

modern sporting rifles circulate amongst civilians in the United States.9

       14.      Another pattern that stands out when examining the relationship between assault

weapons use and mass shooting violence reflects the disproportionately greater lethality

associated with the use of assault weapons and LCMs. For instance, returning to the list of the 7

deadliest individual acts of intentional criminal violence in the United States since the

coordinated terrorist attack of September 11, 2001, besides all seven of the incidents being mass

shootings, two other prominent traits are that 6 of the 7 incidents (86%) involved assault

weapons and all 7 incidents (100%) involved LCMs, as shown in Table 2. When examining all

high-fatality mass shootings since 1991, the relationship between assault weapons use, LCM use,

and higher death tolls is striking. In the past 32 years, assault weapons and LCMs have been

used, respectively, in 34% and 77% of all high-fatality mass shootings. However, as the fatality

thresholds of such incidents increase, so too do the shares of incidents involving assault weapons

and LCMs. For instance, assault weapons and LCMs were used, respectively, in 75% and 100%

of all mass shootings resulting in more than 20 deaths (Figures 7-8). As the data show, there is

an association between mass shooting lethality and the use of assault weapons and LCMs.


Table 2. The Use of Assault Weapons and LCMs in the Deadliest Acts of Intentional
Criminal Violence in the U.S. since 9/11

                                                              Involved Assault        Involved
 Deaths            Date                   Location               Weapon(s)            LCM(s)
   60         October 1, 2017          Las Vegas, NV              (AR-15)               
   49          June 12, 2016            Orlando, FL               (AR-15)               
   32          April 16, 2007         Blacksburg, VA                                     
   27        December 14, 2012         Newtown, CT                 (AR-15)              
   25        November 5, 2017      Sutherland Springs, TX          (AR-15)              
   23         August 3, 2019            El Paso, TX                (AK-47)              
   21          May 24, 2022             Uvalde, TX                 (AR-15)              



       9
        Due to the lack of accurate data on the number of LCMs in civilian circulation, there is
no way to perform a similar comparison using LCMs instead of modern sporting rifles.

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Figure 7. Percentage of High-Fatality Mass Shootings Involving Assault Weapons by
Fatality Threshold, 1991-2022



            More Than 40 Deaths                                             100%




            More Than 20 Deaths                                  75%




            More Than 10 Deaths                            61%




             More Than 5 Deaths                34%


                                  0%   20%     40%      60%      80%     100%


Note: The calculations in Figure 7 exclude incidents in which the firearms used are unknown.


Figure 8. Percentage of High-Fatality Mass Shootings Involving LCMs by Fatality
Threshold, 1991-2022



            More Than 40 Deaths                                             100%




            More Than 20 Deaths                                             100%




            More Than 10 Deaths                                           94%




             More Than 5 Deaths                                   77%


                                  0%   20%     40%      60%      80%     100%


Note: The calculations in Figure 8 exclude incidents in which it is unknown if LCMs were used.




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       15.     Of the 91 high-fatality mass shootings since January 1, 1991, in which the type of

firearm used is known, 31 involved assault weapons, resulting in 425 deaths. The average death

toll for these 31 incidents is 13.7 fatalities per shooting. By contrast, the average death toll for

the 60 incidents in which it is known assault weapons were not used (which resulted in 490

fatalities) is 8.2 fatalities per shooting (Table 3). Furthermore, of the 79 high-fatality mass

shootings since January 1, 1991, in which LCM use is known, 61 involved LCMs, resulting in

704 deaths. The average death toll for these 61 incidents is 11.5 fatalities per shooting. By

contrast, the average death toll for the 18 incidents in which it is known LCMs were not used

(which resulted in 132 fatalities) is 7.3 fatalities per shooting (Table 4). In other words, in the

last 32 years, the use of assault weapons and LCMs in high-fatality mass shootings has resulted,

respectively, in 67% and 58% increases in average fatalities per incident (Tables 3 and 4).

       16.     Table 5 shows the average death tolls per high-fatality mass shooting incident that

are attributable to assault weapons beyond deaths associated with the use of LCMs. When

LCMs are not used, the average death toll is 7.3 fatalities. When LCMs are used, but not in

conjunction with assault weapons, the average death toll is 9.2 fatalities. When LCMs are used

with assault weapons, the average death toll is 14.0 fatalities. The data show that using LCMs

without an assault weapon results in a 26% increase in the average death toll. However, using

LCMs with an assault weapon results in an 52% increase in the average death toll. In other

words, the increase in the death tolls for high-fatality mass shootings involving assault weapons

appears to about one-third attributable to LCMs and about two-thirds attributable to assault

weapons

       17.     This review of the data supports an obvious takeaway: assault weapons and LCMs

are dangerous force multipliers when used to perpetrate mass shootings.




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Table 3. The Average Death Tolls Associated with the Use of Assault Weapons in High-
Fatality Mass Shootings in the U.S., 1991-2022


                                                                                Percent Increase in
                       Average Death Toll for      Average Death Toll for       Average Death Toll
                       Incidents That Did Not      Incidents That Did           Associated with the
                       Involve the Use of          Involve the Use of           Use of Assault
                       Assault Weapons             Assault Weapons              Weapons
 Last 32 Years               8.2 Deaths                  13.7 Deaths                     67%

Note: The calculations in Table 3 exclude incidents in which the firearms used are unknown.



Table 4. The Average Death Tolls Associated with the Use of LCMs in High-Fatality Mass
Shootings in the U.S., 1991-2022


                       Average Death Toll for      Average Death Toll for           Percent Increase in
                       Incidents That Did Not      Incidents That Did               Average Death Toll
                       Involve the Use of          Involve the Use of               Associated with the
                       LCMs                        LCMs                             Use of LCMs
 Last 32 Years               7.3 Deaths                  11.5 Deaths                         58%

Note: The calculations in Table 4 exclude incidents in which it is unknown if LCMs were used.



Table 5. The Average Death Tolls Associated with the Use of LCMs and Assault Weapons
in High-Fatality Mass Shootings in the U.S., 1991-2022


 Average                                                                   Average
 Death Toll   Average                 Average       Average                Death        Average
 for          Death Toll              Death Toll    Death                  Toll for     Death
 Incidents    for                     for           Toll for               Incidents    Toll for
 Not          Incidents               Incidents     Incidents              Not          Incidents
 Involving    Involving               Involving     Involving              Involving    Involving
 LCMs or      LCMs but     Percent    LCMs but      LCMs        Percent    LCMs or      LCMs        Percent
 AWs          Not AWs      Increase   Not AWs       and AWs     Increase   AWs          and AWs     Increase

    7.3          9.2         26%         9.2          14.0        52%         7.3         14.0        92%


Note: The calculations in Table 5 exclude incidents in which it is unknown if assault weapons or
LCMs were used.



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III.   DOUBLE-DIGIT-FATALITY MASS SHOOTINGS ARE A POST-WORLD
       WAR II PHENOMENON IN AMERICAN HISTORY AND THEY
       INCREASINGLY INVOLVE ASSAULT WEAPONS

       18.       I have also examined the historical occurrence and distribution of mass shootings

resulting in 10 or more victims killed since 1776 (Table 6 and Figure 9). A lengthy search

uncovered several informative findings.10 In terms of the origins of this form of extreme gun

violence, there is no known occurrence of a mass shooting resulting in double-digit fatalities at

any point in time during the 173-year period between the nation’s founding in 1776 and 1948.

The first known mass shooting resulting in 10 or more deaths occurred in 1949. In other words,

for 70% of its 247-year existence as a nation, the United States did not experience a mass

shooting resulting in double-digit fatalities, making them a relatively modern phenomena in

American history.11

       19.       After the first such incident in 1949, 17 years passed until a similar mass shooting

occurred in 1966. The third such mass shooting then occurred 9 years later, in 1975. And the

fourth such incident occurred 7 years after, in 1982. Basically, the first few mass shootings

resulting in 10 or more deaths did not occur until the post-World War II era. Furthermore, these

first few double-digit-fatality incidents occurred with relative infrequency, although the temporal

gap between these first four incidents shrank with each event (Table 6 and Figure 10).12




       10
          I searched for firearm-related “murders,” using variations of the term, setting a
minimum fatality threshold of 10 in the Newspaper Archive online newspaper repository,
available at www.newspaperarchive.com (last accessed October 2, 2022). The Newspaper
Archive contains local and major metropolitan newspapers dating back to 1607. Incidents of
large-scale, inter-group violence such as mob violence, rioting, combat or battle skirmishes, and
attacks initiated by authorities acting in their official capacity were excluded.
       11
         Using the Constitution’s effective date of 1789 as the starting point would lead to the
conclusion that, for 68% of its 234-year existence as a nation, the United States did not
experience a mass shooting resulting in double-digit fatalities.
       12
            Figures 9-10 are reproduced in larger form as Exhibit C of this Report.

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Table 6. Mass Shootings Resulting in Double-Digit Fatalities in American History, 1776-
2022

                                                                   Involved
                                                                    Assault           Involved
          Date                  Location                Deaths     Weapon(s)          LCM(s)
  1       9/6/1949            Camden, NE                  13          N                  N
  2       8/1/1966             Austin, TX                 14          N                  Y
  3      3/30/1975           Hamilton, OH                 11          N                  N
  4      9/25/1982         Wilkes-Barre, PA               13          Y                  Y
  5      2/18/1983            Seattle, WA                 13          N                  N
  6      4/15/1984           Brooklyn, NY                 10          N                  N
  7      7/18/1984          San Ysidro, CA                21          Y                  Y
  8      8/20/1986            Edmond, OK                  14          N                  N
  9     10/16/1991            Killeen, TX                 23          N                  Y
 10      4/20/1999            Littleton, CO               13          Y                  Y
 11      4/16/2007          Blacksburg, VA                32          N                  Y
 12      3/10/2009        Geneva County, AL               10          Y                  Y
 13       4/3/2009          Binghamton, NY                13          N                  Y
 14      11/5/2009           Fort Hood, TX                13          N                  Y
 15      7/20/2012            Aurora, CO                  12          Y                  Y
 16     12/14/2012           Newtown, CT                  27          Y                  Y
 17      9/16/2013          Washington, DC                12          N                  N
 18      12/2/2015        San Bernardino, CA              14          Y                  Y
 19      6/12/2016            Orlando, FL                 49          Y                  Y
 20      10/1/2017           Las Vegas, NV                60          Y                  Y
 21      11/5/2017       Sutherland Springs, TX           25          Y                  Y
 22      2/14/2018            Parkland, FL                17          Y                  Y
 23      5/18/2018              Santa Fe                  10          N                  N
 24     10/27/2018           Pittsburgh, PA               11          Y                  Y
 25      11/7/2018        Thousand Oaks, CA               12          N                  Y
 26      5/31/2019        Virginia Beach, VA              12          N                  Y
 27       8/3/2019            El Paso, TX                 23          Y                  Y
 28      3/22/2021            Boulder, CO                 10          Y                  Y
 29      5/14/2022            Buffalo, NY                 10          Y                  Y
 30      5/24/2022             Uvalde, TX                 21          Y                  Y

Note: Death tolls do not include perpetrators. An incident was coded as involving an assault
weapon if at least one of the firearms discharged was defined as an assault weapon in (1) the
1994 Federal Assault Weapons Ban; (2) the statutes of the state where the gun massacre
occurred; or (3) a legal or judicial declaration issued by a state official. An incident was coded
as involving an LCM if at least one of the firearms discharged was armed with a detachable
ammunition-feeding device holding more than 10 bullets.




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Figure 9. Mass Shootings Resulting in Double-Digit Fatalities in American History (1776-
2022)




Figure 10. Mass Shootings Resulting in Double-Digit Fatalities in American History (1949-
2022)




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       20.     The distribution of double-digit-fatality mass shootings changes in the early

1980s, when five such events took place in a span of just five years. (Table 6 and Figure 10).

This timeframe also reflects the first time that assault weapons were used to perpetrate mass

shootings resulting in 10 or more deaths: the 1982 Wilkes-Barre, PA, massacre (involving an

AR-15 rifle and resulting in 13 deaths) and the 1984 San Ysidro, CA, massacre (involving an Uzi

pistol and resulting in 21 deaths). But this cluster of incidents was followed by a 20-year period

in which only 2 double-digit-fatality mass shootings occurred (Figure 10). This period of time

from 1987-2007 correlates with two important pieces of federal firearms legislation: the 1986

Firearm Owners Protection Act and the 1994 Federal Assault Weapons Ban.

       21.     It is well-documented in the academic literature that, after the Federal Assault

Weapons Ban expired in 2004, mass shooting violence increased substantially.13 Mass shootings

that resulted in 10 or more deaths were no exception, following the same pattern. In the 56 years

from 1949 through 2004, there were a total of 10 mass shootings resulting in double-digit

fatalities. In the 18 years since 2004, there have been 20 double-digit-fatality mass shootings. In

other words, the average rate of occurrence has increased over six-fold since the Federal Assault

Weapons Ban expired (Table 6 and Figure 10). (The 1994 Federal Assault Weapons Ban and its

impact on mass shooting violence is discussed in further detail in Section VI of this Declaration.)

       22.     As with the analyses of mass shootings discussed above in Section II, death tolls

in double-digit-fatality mass shootings are largely related to the use of assault weapons and

LCMs—firearms technologies that, in terms of mass shootings, serve as force multipliers.

       13
         See, for example, Louis Klarevas, Rampage Nation, supra note 2 (Relevant Excerpt
Attached as Exhibit D); Louis Klarevas, et al., The Effect of Large-Capacity Magazine Bans on
High-Fatality Mass Shootings, supra note 3 (Attached as Exhibit E); Charles DiMaggio, et al.,
Changes in US Mass Shooting Deaths Associated with the 1994-2004 Federal Assault Weapons
Ban: Analysis of Open-Source Data, 86 Journal of Trauma and Acute Care Surgery 11 (2019)
(Attached as Exhibit F); Lori Post, et al., Impact of Firearm Surveillance on Gun Control
Policy: Regression Discontinuity Analysis, 7 JMIR Public Health and Surveillance (2021)
(Attached as Exhibit G); and Philip J. Cook and John J. Donohue, Regulating Assault Weapons
and Large-Capacity Magazines for Ammunition, 328 JAMA, September 27, 2022 (Attached as
Exhibit H).

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IV.    ASSAULT WEAPONS ARE ALMOST NEVER USED BY PRIVATE CITIZENS
       IN SELF-DEFENSE DURING ACTIVE SHOOTINGS

       23.     An important question that, until now, has gone unanswered is: Are assault

weapons used as frequently to stop mass shootings as they are to perpetrate them? As shown

above in Section II, assault weapons have been used to perpetrate approximately one-third of

high-fatality mass shootings in the past 32 years (Figure 3). And in the past 8 years, the share of

high-fatality mass shootings that has been perpetrated with assault weapons has risen to

approximately half (Figure 3).

       24.     The Federal Bureau of Investigation (FBI) has been documenting active shooter

incidents since 2000.14 According to the FBI, active shootings are violent attacks that involve

“one or more individuals actively engaged in killing or attempting to kill people in a populated

area.”15 A simple way to conceptualize active shooter incidents is to think of them as attempted

mass shootings. As part of its analysis of attempted mass shootings, the FBI identifies incidents

that involved armed civilians using their personal firearms to intervene, regardless of whether the

interventions were successful in stopping the attacks and/or neutralizing the perpetrator(s).

       25.     In the 22 years between January 1, 2000, and December 31, 2021, the FBI has

identified 406 active shootings occurring in the United States. Out of these 406 active shooter

incidents, 15 incidents (3.7%) involved defensive gun uses (DGUs) by civilians, excluding law

enforcement or armed security.16 Of these 15 DGUs that involved an armed private citizen

       14
          All of the information in this section, including definitions and data, are publicly
available from the FBI. See FBI, “Active Shooter Safety Resources,” available at
https://www.fbi.gov/how-we-can-help-you/safety-resources/active-shooter-safety-resources (last
accessed January 2, 2023). At the time that this Declaration was being prepared, active shooter
incident data was not yet available for the year 2022. This data will likely be released by the FBI
at some point in 2023. As such, the time parameter for the analysis in this section is 2000-2021.
       15
          The FBI adds, “Implicit in this definition is the shooter’s use of one or more firearms.
The ‘active’ aspect of the definition inherently implies the ongoing nature of the incidents, and
thus the potential for the response to affect the outcome.” Ibid.
       16
          In 14 of these 15 DGU-involved active shooter incidents, there was an exchange of
gunfire. For the one incident that did not involve an exchange of gunfire, the gun (a handgun)
was used to detain the active shooter after the shooting had ceased. Ibid.

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intervening, 12 incidents involved handguns. The remaining 3 incidents involved long guns: 1

shotgun, 1 bolt-action rifle, and 1 assault rifle. In other words, out of the 15 incidents where an

armed civilian intervened, only 1 incident (6.7%) involved an assault weapon.17 Within the

broader context of all active shooter incidents, only 1 incident out of 406 in the past 22 years

(0.2%) involved an armed civilian intervening with an assault weapon.18

       26.     The bottom line: assault weapons are used by civilians with a far greater

frequency to perpetrate mass shootings than to stop mass shootings.19




       17
           The FBI also identifies an incident in which an armed individual (a local firefighter)
subdued and detained a school shooter, but there is no evidence that the armed citizen drew his
handgun during the incident. Moreover, local authorities have refused to comment on whether
the firefighter ever drew his handgun. See Carla Field, “Firefighter Was Armed During
Takedown of Shooting Suspect, Sheriff Says,” WYFF, October 3, 2016, available at
https://www.wyff4.com/article/firefighter-was-armed-during-takedown-of-shooting-suspect-
sheriff-says/7147424 (last accessed January 3, 2023). Adding this incident to the 15 DGU-
involved incidents would mean that 6.3% (as opposed to 6.7%) of the active shooter incidents,
where an armed civilian intervened, involved an assault weapon.
       18
          FBI, supra note 12. The one DGU that involved an assault weapon was the 2017
church massacre in Sutherland Springs, Texas. In that incident, an armed private citizen used an
AR-15-style assault rifle to wound the perpetrator as he was attempting to flee the scene. While
the perpetrator was still able to flee the scene despite being shot, minutes later, he crashed his
vehicle trying to escape and then took his life with his own firearm before law enforcement could
apprehend him. See Adam Roberts, “Man Who Shot Texas Gunman Shares His Story,”
KHBS/KHOG, November 7, 2017, available at https://www.4029tv.com/article/man-who-shot-
texas-church-gunman-shares-his-story/13437943 (last accessed January 3, 2023).
       19
          Given the limitations of the active shooter incident data reported by the FBI, it is not
possible to discern whether any of the civilian DGUs involved an armed civilian using a firearm
with an LCM at the time of the intervention. As such, it is not possible to perform a similar
comparison between mass shootings perpetrated with LCM-equipped firearms and mass
shootings thwarted with LCM-equipped firearms.

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V.     OWNERSHIP RATES OF “MODERN SPORTING RIFLES” IN THE U.S.

       27.     As noted above in Para. 13, based on NSSF and federal government data, modern

sporting rifles—such as AR- and AK-platform rifles—make up approximately 5.3% of all

firearms in circulation in American society, according to the most recent publicly-available data

(24.4 million out of an estimated 461.9 million firearms). Furthermore, in its most recent survey

data, the NSSF found that civilian owners of modern sporting rifles own, on average, 3.8 such

rifles, with 24% of these owners possessing only one such rifle.20 Based on this data, only 6.4

million gun owners—out of an estimated 81 million Americans who own at least one personal

firearm—own modern sporting rifles.21 In other words, less than 8% of all civilian gun owners

in the United States own modern sporting rifles.22 In terms of the total population of the United

States, estimated by the Census Bureau to be approximately 333 million people in 2022, less

than 2% of all Americans own a modern sporting rifle.23


       20
          NSSF, Modern Sporting Rifle: Ownership, Usage and Attitudes Toward AR- and AK-
Platform Modern Sporting Rifles, Comprehensive Consumer Report, 2022, at 12, available at
https://www3.nssf.org/share/PDF/pubs/NSSF-MSR-Comprehensive-Consumer-Report.pdf (last
accessed January 16, 2023).
       21
           The estimate that approximately 6.4 million gun owners possess what the NSSF
considers to be modern sporting rifles is calculated by dividing the 3.8 average number of such
rifles that each modern sporting rifle owner possesses into the 24.4 million such rifles estimated
to be in civilian circulation. This calculation (24.4 million divided by 3.8) equals 6.4 million.
Based on survey data, 81 million American adults are estimated to own guns. Andy Nguyen,
“Proposed Assault Weapons Ban Won’t Turn Gun Owners into Felons Overnight,” PolitiFact,
The Poynter Institute, August 3, 2022, available at
https://www.politifact.com/factchecks/2022/aug/03/instagram-posts/proposed-assault-weapons-
ban-wont-turn-gun-owners- (last accessed January 16, 2023).
       22
           The finding that less than 8% of all gun owners possess modern sporting rifles is
calculated by dividing the 6.4 million modern sporting rifle owners by the 81 million American
adults estimated to be gun owners. This calculation (6.4 million divided by 81 million) equals
7.9%.
       23
          The Census Bureau’s total population estimate for 2022 is 333,287,557 persons. U.S.
Census Bureau, “Growth in U.S. Population Shows Early Indication of Recovery Amid COVID-
19 Pandemic,” December 22, 2022, available at https://www.census.gov/newsroom/press-
releases/2022/2022-population-
estimates.html#:~:text=DEC.,components%20of%20change%20released%20today (last
accessed January 16, 2023). The finding that less than 2% of all Americans possess modern
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       28.      In deriving its estimates, the NSSF often relies on United States government data,

particularly ATF data.24 According to the ATF, since 1986 through 2020 (which reflects the

most currently-available data), the civilian stock of firearms in the United States has been made

up predominantly of handguns.25 As Fig. 11 shows, handguns account for 50% of the civilian

stock of firearms, rifles account for 33%, and shotguns account for 17%.

       29.      According to ATF data, handguns are the most commonly owned firearms; not

rifles, and most certainly not modern sporting rifles that qualify as assault weapons.26

Figure 11. Share of Firearms in Civilian Circulation in the United States, 1986-2020

                             Shotguns
                               17%




                                                                              Handguns
                                                                                50%

                   Rifles
                   33%




sporting rifles is calculated by dividing the 6.4 million modern sporting rifle owners by the 333
million persons in United States. This calculation (6.4 million divided by 333 million) equals
1.9%.
       24
            NSSF, 2020, supra note 6.
       25
          For data on the number of firearms manufactured, imported, and exported, by category
of firearm, from 2000-2020, see ATF, supra note 6. For similar data covering 1986-1999, see
ATF, Firearms Commerce in the United States: Annual Statistical Update, 2021, available at
https://www.atf.gov/firearms/docs/report/2021-firearms-commerce-report/download (last
accessed January 16, 2023).
       26
         Due to the lack of accurate data on the number of LCMs in civilian circulation, there is
no way to perform a similar analysis of ownership rates using LCMs instead of modern sporting
rifles.

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VI.    RESTRICTIONS ON ASSAULT WEAPONS AND LCMS REDUCE THE
       INCIDENCE OF GUN MASSACRES, RESULTING IN LIVES SAVED

       30.       In light of the growing threat posed by mass shootings, legislatures have enacted

restrictions on assault weapons and LCMs in an effort to reduce the occurrence and lethality of

such deadly acts of firearm violence. Prominent among these measures was the 1994 Federal

Assault Weapons Ban. In September 1994, moved to action by the high-profile shooting

rampages at a San Francisco law firm and on a Long Island Rail Road commuter train, the U.S.

Congress enacted a ban on assault weapons and LCMs that applied to all 50 states plus the

District of Columbia, bringing the entire country under the ban.27

       31.       Like the state bans on assault weapons and LCMs that were implemented before

it, the federal ban was aimed primarily at reducing mass shooting violence—an objective the ban

sought to achieve by prohibiting the manufacture, importation, possession, and transfer of assault

weapons and LCMs not legally owned by civilians prior to the date of the law’s effect

(September 13, 1994).28 Congress, however, inserted a sunset provision in the law which

allowed the federal ban to expire in exactly 10 years, if it was not renewed beforehand. As

Congress ultimately chose not to renew the law, the federal ban expired on September 13, 2004.

In the aftermath of the federal ban’s expiration, mass shooting violence in the United States

increased substantially.29

       32.       In 2013, following the horrific shooting at Sandy Hook Elementary School in

Newtown, Connecticut, that claimed the lives of 20 first-graders and 6 educators, the City of

Highland Park, Illinois, enacted an ordinance that restricted assault weapons and LCMs.

Explicitly citing the Sandy Hook massacre as well as the high-fatality mass shootings at a

       27
         Pub. L. No. 103-322, tit. XI, subtit. A, 108 Stat. 1796, 1996-2010 (codified as former
18 U.S.C. § 922(v), (w)(1) (1994)).
       28
          Christopher Ingraham, “The Real Reason Congress Banned Assault Weapons in
1994—and Why It Worked,” Washington Post, February 22, 2018, available at
https://www.washingtonpost.com/news/wonk/wp/2018/02/22/the-real-reason-congress-banned-
assault-weapons-in-1994-and-why-it-worked (last accessed January 2, 2023).
       29
            See sources cited supra note 11.

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Congressional meet-and-greet event in Tucson, Arizona, and a movie theater in Aurora,

Colorado, the City Council declared that assault weapons “pose an undue threat to public safety

to the residents, property owners, and visitors within the City of Highland Park.”30 In light of

this determination, the City Council enacted an ordinance that restricts the manufacture, sale,

transfer, ownership, acquisition, and possession of both assault weapons and LCMs.31

       33.          The legislative intent of Highland Park’s City Council, as documented in the

prefatory findings in the ordinance it enacted, is similar to that of other legislative bodies that

have restricted assault weapons and LCMs. The primary objective of bans on assault weapons

and LCMs is to reduce the frequency and lethality of mass shootings. Because, on average, the

use of assault weapons and LCMs results in higher death tolls in mass shootings, the rationale for

imposing restrictions on assault weapons and LCMs is to reduce the loss of life associated with

the increased kill potential of such firearm technologies.

       34.          Currently, 30% of the U.S. population is subject to a ban on both assault weapons

and LCMs. The following is a list of the ten state-level jurisdictions that presently ban both

assault weapons and LCMs: New Jersey (September 1, 1990); Hawaii (July 1, 1992, assault

pistols only); Maryland (June 1, 1994, initially assault pistols but expanded to long guns October

1, 2013); Massachusetts (July 23, 1998); California (January 1, 2000); New York (November 1,

2000); the District of Columbia (March 31, 2009); Connecticut (April 4, 2013); Delaware

(August 29, 2022); and Illinois (January 10, 2023).32 As a reminder, from September 13, 1994,

through September 12, 2004, the entire country was also subject to federal ban on both assault

weapons and LCMs.




       30
         City Council of Highland Park, IL, Ordinance No. 68-13, Approved June 24, 2013
(Attached as Exhibit I).
       31
            Ibid.
       32
          The dates in parentheses mark the effective dates on which the listed states became
subject to bans on both assault weapons and LCMs.

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       35.     In the field of epidemiology, a common method for assessing the impact of laws

and policies is to measure the rate of onset of new cases of an event, comparing the rate when

and where the laws and policies were in effect against the rate when and where the laws and

policies were not in effect. This measure, known as the incidence rate, allows public health

experts to identify discernable differences, while accounting for variations in the population,

over a set period of time. Relevant to the present case, calculating incidence rates across states,

in a manner that captures whether or not bans on both assault weapons and LCMs were in effect

during the period of observation, allows for the assessment of the effectiveness of such bans. In

addition, fatality rates—the number of deaths, per population, that result from particular events

across different jurisdictions—also provide insights into the impact bans on assault weapons and

LCMs have on mass shooting violence.33

       36.     Since September 1, 1990, when New Jersey became the first state to ban both

assault weapons and LCMs, through December 31, 2022, there have been 93 high-fatality mass

shootings in the United States (Exhibit B).34 Calculating incidence and fatality rates for this

time-period, across jurisdictions with and without bans on both assault weapons and LCMs,

reveals that states subject to such bans experienced a 56% decrease in high-fatality mass

shooting incidence rates. They also experienced a 66% decrease in high-fatality mass shooting

fatality rates, regardless of the weaponry used by the mass murderers (Table 7).35


       33
          For purposes of this Report, incidence and fatality rates are calculated using methods
and principles endorsed by the Centers for Disease Control. See Centers for Disease Control and
Prevention, Principles of Epidemiology in Public Health Practice: An Introduction to Applied
Epidemiology and Biostatistics (2012), available at https://stacks.cdc.gov/view/cdc/13178 (last
accessed January 3, 2023).
       34
           There were no state bans on both assault weapons and LCMs in effect prior to
September 1, 1990. Therefore, January 1, 1991, is a logical starting point for an analysis of the
impact of bans on assault weapons and LCMs. As there were no high-fatality mass shootings in
the last four months of 1990, extending the analysis back to September 1, 1990, would make no
difference.
       35
         Between September 13, 1994, and September 12, 2004, the Federal Assault Weapons
Ban was in effect. During that 10-year period, all 50 states and the District of Columbia were
under legal conditions that restricted assault weapons and LCMs. As such, the entire country is
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          37.   When calculations go a step further and are limited to mass shootings involving

assault weapons or LCMs, the difference between the two jurisdictional categories is even more

pronounced. In the time-period from January 1, 1991, through December 31, 2022, accounting

for population, states with bans on both assault weapons and LCMs experienced a 62% decrease

in the rate of high-fatality mass shootings involving the use of assault weapons or LCMs.

Similarly, jurisdictions with such bans in effect experienced a 72% decrease in the rate of deaths

resulting from high-fatality mass shootings perpetrated with assault weapons or LCMs (Table 7).

          38.   All of the above epidemiological calculations lead to the same conclusion: when

bans on assault weapons and LCMs are in effect, per capita, fewer high-fatality mass shootings

occur and fewer people die in such shootings—especially incidents involving assault weapons or

LCMs, where the impact is most striking.

          39.   The main purpose of bans on assault weapons and LCMs is to restrict the

availability of assault weapons and LCMs. The rationale is that, if there are fewer assault

weapons and LCMs in circulation, then potential mass shooters will either be dissuaded from

attacking or they will be forced to use less-lethal firearm technologies, resulting in fewer lives

lost. The epidemiological data buttress this line of reasoning, supporting Highland Park’s

determination that restricting civilian access to assault weapons and LCMs will enhance public

safety.

          40.   While imposing constraints on assault weapons and LCMs will not prevent every

mass shooting, the data suggest that legislative efforts to deny gunmen access to assault weapons

and LCMs should result in lives being saved.




coded as being under a ban on both assault weapons and LCMs during the timeframe that the
Federal Assault Weapons Ban was in effect.

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Table 7. Incidence and Fatality Rates for High-Fatality Mass Shootings, by Whether or
Not Bans on Assault Weapons and LCMs Were in Effect, 1991-2022

                                                        Annual
                               Annual                   Incidents               Annual
                               Average                  per 100                 Deaths per
                               Population   Total       Million       Total     100 Million
                               (Millions)   Incidents   Population    Deaths    Population
 All High-Fatality Mass
 Shootings
 Non-Ban States                     162.0          68          1.31       720          13.89

 Ban States                         135.8          25          0.58       208           4.79

 Percentage Decrease in Rate
 for Ban States                                                56%                      66%
 High-Fatality Mass
 Shootings Involving
 Assault Weapons or LCMs
 Non-Ban States                     162.0          47          0.91       575          11.09

 Ban States                         135.8          15          0.35       135           3.11

 Percentage Decrease in Rate
 for Ban States                                                62%                      72%

Note: Population data are from U.S. Census Bureau, “Population and Housing Unit Estimates
Datasets,” available at https://www.census.gov/programs-surveys/popest/data/data-sets.html
(last accessed January 3, 2023).




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Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the United
States of America that the foregoing is true and correct.

       Executed on January 18, 2023 at Nassau County, NY.




                                                    Louis Klarevas




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                                   Louis J. Klarevas
                              Email: ljk2149@tc.columbia.edu


Education

Ph.D. International Relations, 1999
      School of International Service
      American University
      Washington, DC

B.A.   Political Science, Cum Laude, 1989
       School of Arts and Sciences
       University of Pennsylvania
       Philadelphia, PA


Author

Rampage Nation: Securing America from Mass Shootings


Current Positions

Research Professor, Teachers College, Columbia University, New York, NY, 2018-Present

Faculty Affiliate, Media and Social Change Lab (MASCLab), Teachers College, Columbia
University, New York, NY, 2019-Present


Professional Experience

Academic Experience (Presented in Academic Years)

Associate Lecturer, Department of Global Affairs, University of Massachusetts – Boston,
Boston, MA, 2015-2020

Senior Fulbright Scholar (Security Studies), Department of European and International Studies,
University of Macedonia, Thessaloniki, Greece, 2011-2012

Founder and Coordinator, Graduate Transnational Security Program, Center for Global Affairs,
New York University, New York, NY, 2009-2011

Faculty Affiliate, A. S. Onassis Program in Hellenic Studies, New York University, New York,
NY, 2007-2011

Clinical Faculty, Center for Global Affairs, New York University, New York, NY, 2006-2011

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Adjunct Professor, Center for Global Affairs, New York University, New York, NY, 2004-2006

Assistant Professor of Political Science, City University of New York – College of Staten Island,
Staten Island, NY, 2003-2006

Associate Fellow, European Institute, London School of Economics and Political Science,
London, England, UK, 2003-2004

Defense Analysis Research Fellow, London School of Economics and Political Science, London,
England, UK, 2002-2004

Visiting Assistant Professor of Political Science and International Affairs, George Washington
University, Washington, DC, 1999-2002

Adjunct Professor of Political Science, George Washington University, Washington, DC, 1998-
1999

Adjunct Professor of International Relations, School of International Service, American
University, Washington, DC, 1994-1995

Dean’s Scholar, School of International Service, American University, Washington, DC, 1989-
1992

Professional Experience (Presented in Calendar Years)

Consultant, National Joint Terrorism Task Force, Federal Bureau of Investigation, Washington,
DC, 2015

Writer, Prometheus Books, Amherst, NY, 2012-2015

Consultant, United States Institute of Peace, Washington, DC, 2005, 2008-2009

Research Associate, United States Institute of Peace, Washington, DC, 1992-1998

Faculty Advisor, National Youth Leadership Forum, Washington, DC, 1992




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Courses Taught

 Graduate                                              Undergraduate
 Counter-Terrorism and Homeland Security               American Government and Politics
 International Political Economy                       European-Atlantic Relations
 International Politics in a Post-Cold War Era         International Political Economy
 International Security                                International Relations
 Machinery and Politics of American Foreign Policy     Transnational Terrorism
 Role of the United States in World Affairs            United States Foreign Policy
 Security Policy
 Theories of International Politics
 Transnational Security
 Transnational Terrorism
 United States Foreign Policy


Scholarship

“State Firearm Laws, Gun Ownership, and K-12 School Shootings: Implications for School
Safety,” Journal of School Violence, 2022 (co-authored with Paul M. Reeping, Sonali Rajan, et
al.)

“The Effect of Large-Capacity Magazine Bans on High-Fatality Mass Shootings, 1990-2017,”
American Journal of Public Health, November 2019 (co-authored with Andrew Conner and
David Hemenway)

“Changes in U.S. Mass Shooting Deaths Associated with the 1994-2004 Federal Assault
Weapons Ban,” Journal of Trauma and Acute Care Surgery, May 2019 (correspondence)

Firearms on College Campuses: Research Evidence and Policy Implications, report prepared by
the Johns Hopkins University Center for Gun Policy and Research for the Association of
American Universities, October 2016 (co-authored with Daniel W. Webster, John J. Donohue, et
al.)

Rampage Nation: Securing America from Mass Shootings, Prometheus Books, 2016

“No Relief in Sight: Barring Bivens Suits in Torture Cases,” Presidential Studies Quarterly, June
2013

Review of James Edward Miller’s The United States and the Making of Modern Greece: History
and Power, 1950-1974, Presidential Studies Quarterly, June 2012 (book review)

“Trends in Terrorism Since 9/11,” Georgetown Journal of International Affairs, Winter/Spring
2011

“The Death Penalty Should Be Decided Only Under a Specific Guideline,” in Christine Watkins,
ed., The Ethics of Capital Punishment (Cengage/Gale Publishers, 2011)


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States Institute of Peace Case Study, 2009

“Casualties, Polls and the Iraq War,” International Security, Fall 2006 (correspondence)

“The CIA Leak Case Indicting Vice President Cheney’s Chief of Staff,” Presidential Studies
Quarterly, June 2006

“Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
Coup,” Diplomatic History, June 2006

“Greeks Bearing Consensus: An Outline for Increasing Greece’s Soft Power in the West,”
Mediterranean Quarterly, Summer 2005

“W Version 2.0: Foreign Policy in the Second Bush Term,” The Fletcher Forum of World
Affairs, Summer 2005

“Can You Sue the White House? Opening the Door for Separation of Powers Immunity in
Cheney v. District Court,” Presidential Studies Quarterly, December 2004

“Political Realism: A Culprit for the 9/11 Attacks,” Harvard International Review, Fall 2004

Greeks Bearing Consensus: An Outline for Increasing Greece’s Soft Power in the West, Hellenic
Observatory Discussion Paper 18, London School of Economics, November 2004

Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
Coup, Hellenic Observatory Discussion Paper 15, London School of Economics, February 2004

“Not a Divorce,” Survival, Winter 2003-2004 (correspondence)

“Media Impact,” in Mark Rozell, ed., The Media and American Politics: An Introduction
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Constitutionality of Extradition via Congressional-Executive Agreement,” UCLA Journal of
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Cases,” Presidential Studies Quarterly, June 2003

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Force,” International Studies Perspectives, November 2002

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Winter 2001



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“Turkey’s Right v. Might Dilemma in Cyprus: Reviewing the Implications of Loizidou v.
Turkey,” Mediterranean Quarterly, Spring 1999

“An Outline of a Plan Toward a Comprehensive Settlement of the Greek-Turkish Dispute,” in
Vangelis Calotychos, ed., Cyprus and Its People: Nation, Identity, and Experience in an
Unimaginable Community, 1955-1997, Boulder, CO: Westview Press, 1998 (co-authored with
Theodore A. Couloumbis)

“Prospects for Greek-Turkish Reconciliation in a Changing International Setting,” in Tozun
Bahcheli, Theodore A. Couloumbis, and Patricia Carley, eds., Greek-Turkish Relations and U.S.
Foreign Policy: Cyprus, the Aegean, and Regional Stability, Washington, D.C.: U.S. Institute of
Peace, 1997 (co-authored with Theodore A. Couloumbis) [Reproduced as “Prospects for Greek-
Turkish Reconciliation in a Changing International Setting,” in Robert L. Pfaltzgraff and
Dimitris Keridis, eds., Security in Southeastern Europe and the U.S.-Greek–Relationship,
London: Brassey’s, 1997 (co-authored with Theodore A. Couloumbis)]

“Structuration Theory in International Relations,” Swords & Ploughshares, Spring 1992


Commentaries and Correspondence

“Why Our Response to School Shootings Is All Wrong,” Los Angeles Times, May 25, 2022 (co-
authored with Sonali Rajan and Charles Branas)

“COVID-19 Is a Threat to National Security. Let’s Start Treating It as Such,” Just Security,
August 6, 2020 (co-authored with Colin P. Clarke)

“If the Assault Weapons Ban ‘Didn’t Work,’ Then Why Does the Evidence Suggest It Saved
Lives?” Los Angeles Times, March 11, 2018 (correspondence)

“London and the Mainstreaming of Vehicular Terrorism,” The Atlantic, June 4, 2017 (co-
authored with Colin P. Clarke)

“Firearms Have Killed 82 of the 86 Victims of Post-9/11 Domestic Terrorism,” The Trace, June
30, 2015 [Reproduced as “Almost Every Fatal Terrorist Attack in America since 9/1 Has
Involved Guns.” Vice, December 4, 2015]

“International Law and the 2012 Presidential Elections,” Vitoria Institute, March 24, 2012

“Al Qaeda Without Bin Laden,” CBS News Opinion, May 2, 2011

“Fuel, But Not the Spark,” Zocalo Public Square, February 16, 2011

“After Tucson, Emotions Run High,” New York Times, January 12, 2011 (correspondence)


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“WikiLeaks, the Web, and the Need to Rethink the Espionage Act,” The Atlantic, November 9,
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“Deprogramming Jihadis,” New York Times Magazine, November 23, 2008 (correspondence)

“Food: An Issue of National Security,” Forbes (Forbes.com), October 25, 2008

“An Invaluable Opportunity for Greece To Increase Its Standing and Influence on the World
Stage,” Kathimerini (Greece), January 13, 2005

“How Many War Deaths Can We Take?” Newsday, November 7, 2003

“Down But Not Out,” London School of Economics Iraq War Website, April 2003

“Four Half-Truths and a War,” American Reporter, April 6, 2003

“The Greek Bridge between Old and New Europe,” National Herald, February 15-16, 2003

“Debunking a Widely-Believed Greek Conspiracy Theory,” National Herald, September 21-22,
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“Debunking of Elaborate Media Conspiracies an Important Trend,” Kathimerini (Greece),
September 21, 2002 [Not Related to September 21-22, 2002, National Herald Piece with Similar
Title]

“Cold Turkey,” Washington Times, March 16, 1998

“If This Alliance Is to Survive . . .,” Washington Post, January 2, 1998 [Reproduced as “Make
Greece and Turkey Behave,” International Herald Tribune, January 3, 1998]

“Defuse Standoff on Cyprus,” Defense News, January 27-February 2, 1997

“Ukraine Holds Nuclear Edge,” Defense News, August 2-8, 1993


Commentaries Written for New York Daily News –
https://www.nydailynews.com/authors/?author=Louis+Klarevas

“Careful How You Talk about Suicide, Mr. President,” March 25, 2020 (co-authored with Sonali
Rajan, Charles Branas, and Katherine Keyes)

“Only as Strong as Our Weakest Gun Laws: The Latest Mass Shooting Makes a Powerful Case
for Federal Action,” November 8, 2018

“What to Worry, and not Worry, About: The Thwarted Pipe-Bomb Attacks Point to Homeland
Security Successes and Vulnerabilities,” October 25, 2018


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“After the Santa Fe Massacre, Bury the ‘Good Guy with a Gun’ Myth: Armed Staffers Won’t
Deter Shooters or Keep Kids Safe,” May 22, 2018

“It’s the Guns (and Ammo), Stupid: Dissuading Killers and Hardening Targets Matter Too, But
Access to Weapons Matters Most,” February 18, 2018

“The Texas Shooting Again Reveals Inadequate Mental-Health Help in the U.S. Military,”
November 7, 2017

“Why Mass Shootings Are Getting Worse: After Vegas, We Urgently Must Fix Our Laws,”
October 2, 2017

“N.Y. Can Lead the Nation in Fighting Child Sex Trafficking,” April 21, 2009 (co-authored with
Ana Burdsall-Morse)

“Crack Down on Handguns – They’re a Tool of Terror, Too,” October 25, 2007


Commentaries Written for The Huffington Post – www.huffingtonpost.com/louis-klarevas

“Improving the Justice System Following the Deaths of Michael Brown and Eric Garner,”
December 4, 2014

“American Greengemony: How the U.S. Can Help Ukraine and the E.U. Break Free from
Russia’s Energy Stranglehold,” March 6, 2014

“Guns Don’t Kill People, Dogs Kill People,” October 17, 2013

“Romney the Liberal Internationalist?” October 23, 2012

“Romney’s Unrealistic Foreign Policy Vision: National Security Funded by Money Growing
Trees,” October 10, 2012

“Do the Wrong Thing: Why Penn State Failed as an Institution,” November 14, 2011

“Holding Egypt’s Military to Its Pledge of Democratic Reform,” February 11, 2011

“The Coming Twivolutions? Social Media in the Recent Uprisings in Tunisia and Egypt,”
January 31, 2011

“Scholarship Slavery: Does St. John’s ‘Dean of Mean’ Represent a New Face of Human
Trafficking?” October 6, 2010

“Misunderstanding Terrorism, Misrepresenting Islam,” September 21, 2010

“Bombing on the Analysis of the Times Square Bomb Plot,” May 5, 2010


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“Do the Hutaree Militia Members Pose a Terrorist Threat?” May 4, 2010

“Addressing Mexico’s Gun Violence One Extradition at a Time,” March 29, 2010

“Terrorism in Texas: Why the Austin Plane Crash Is an Act of Terror,” February 19, 2010

“Securing American Primacy by Tackling Climate Change: Toward a National Strategy of
Greengemony,” December 15, 2009

“Traffickers Without Borders: A ‘Journey’ into the Life of a Child Victimized by Sex
Trafficking,” November 17, 2009

“Beyond a Lingering Doubt: It’s Time for a New Standard on Capital Punishment,” November 9,
2009

“It’s the Guns Stupid: Why Handguns Remain One of the Biggest Threats to Homeland
Security,” November 7, 2009

“Obama Wins the 2009 Nobel Promise Prize,” October 9, 2009


Commentaries for Foreign Policy – www.foreignpolicy.com

“The White House’s Benghazi Problem,” September 20, 2012

“Greeks Don’t Want a Grexit,” June 14, 2012

“The Earthquake in Greece,” May 7, 2012

“The Idiot Jihadist Next Door,” December 1, 2011

“Locked Up Abroad,” October 4, 2011


Commentaries for The New Republic – www.tnr.com/users/louis-klarevas

“What the U.N. Can Do To Stop Getting Attacked by Terrorists,” September 2, 2011

“Is It Completely Nuts That the British Police Don’t Carry Guns? Maybe Not,” August 13, 2011

“How Obama Could Have Stayed the Execution of Humberto Leal Garcia,” July 13, 2011

“After Osama bin Laden: Will His Death Hasten Al Qaeda’s Demise?” May 2, 2011

“Libya’s Stranger Soldiers: How To Go After Qaddafi’s Mercenaries,” February 28, 2011



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“Closing the Gap: How To Reform U.S. Gun Laws To Prevent Another Tucson,” January 13,
2011

“Easy Target,” June 13, 2010

“Death Be Not Proud,” October 27, 2003 (correspondence)


Legal Analyses Written for Writ – writ.news.findlaw.com/contributors.html#klarevas

“Human Trafficking and the Child Protection Compact Act of 2009,” Writ (FindLaw.com), July
15, 2009 (co-authored with Christine Buckley)

“Can the Justice Department Prosecute Reporters Who Publish Leaked Classified Information?
Interpreting the Espionage Act,” Writ (FindLaw.com), June 9, 2006

“Will the Precedent Set by the Indictment in a Pentagon Leak Case Spell Trouble for Those Who
Leaked Valerie Plame's Identity to the Press?” Writ (FindLaw.com), August 15, 2005

“Jailing Judith Miller: Why the Media Shouldn’t Be So Quick to Defend Her, and Why a
Number of These Defenses Are Troubling,” Writ (FindLaw.com), July 8, 2005

“The Supreme Court Dismisses the Controversial Consular Rights Case: A Blessing in Disguise
for International Law Advocates?” Writ (FindLaw.com), June 6, 2005 (co-authored with Howard
S. Schiffman)

“The Decision Dismissing the Lawsuit against Vice President Dick Cheney,” Writ
(FindLaw.com), May 17, 2005

“The Supreme Court Considers the Rights of Foreign Citizens Arrested in the United States,”
Writ (FindLaw.com), March 21, 2005 (co-authored with Howard S. Schiffman)


Presentations and Addresses

In addition to the presentations listed below, I have made close to one hundred media
appearances, book events, and educational presentations (beyond lectures for my own
classes)

“Mass Shootings: What We Know, What We Don’t Know, and Why It All Matters,” keynote
presentation to be delivered at the Columbia University Center for Injury Science and Prevention
Annual Symposium, virtual meeting, May 2020

“K-12 School Environmental Responses to Gun Violence: Gaps in the Evidence,” paper
presented at Society for Advancement of Violence and Injury Research Annual Meeting, virtual
meeting, April 2020 (co-authored with Sonali Rajan, Joseph Erardi, Justin Heinze, and Charles
Branas)


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“Active School Shootings,” Post-Performance Talkback following Presentation of 17 Minutes,
Barrow Theater, New York, January 29, 2020 (co-delivered with Sonali Rajan)

“Addressing Mass Shootings in Public Health: Lessons from Security Studies,” Teachers
College, Columbia University, November 25, 2019

“Rampage Nation: Securing America from Mass Shootings,” Swarthmore College, October 24,
2019

“Rampage Nation: Securing America from Mass Shootings,” University of Pennsylvania,
February 9, 2018

“Treating Mass Shootings for What They Really Are: Threats to American Security,”
Framingham State University, October 26, 2017

“Book Talk: Rampage Nation,” Teachers College, Columbia University, October 17, 2017

Participant, Roundtable on Assault Weapons and Large-Capacity Magazines, Annual Conference
on Second Amendment Litigation and Jurisprudence, Law Center to Prevent Gun Violence,
October 16, 2017

“Protecting the Homeland: Tracking Patterns and Trends in Domestic Terrorism,” address
delivered to the annual meeting of the National Joint Terrorism Task Force, June 2015

“Sovereign Accountability: Creating a Better World by Going after Bad Political Leaders,”
address delivered to the Daniel H. Inouye Asia-Pacific Center for Security Studies, November
2013

“Game Theory and Political Theater,” address delivered at the School of Drama, State Theater of
Northern Greece, May 2012

“Holding Heads of State Accountable for Gross Human Rights Abuses and Acts of Aggression,”
presentation delivered at the Michael and Kitty Dukakis Center for Public and Humanitarian
Service, American College of Thessaloniki, May 2012

Chairperson, Cultural Enrichment Seminar, Fulbright Foundation – Southern Europe, April 2012

Participant, Roundtable on “Did the Intertubes Topple Hosni?” Zócalo Public Square, February
2011

Chairperson, Panel on Democracy and Terrorism, annual meeting of the International Security
Studies Section of the International Studies Association, October 2010

“Trends in Terrorism Within the American Homeland Since 9/11,” paper to be presented at the
annual meeting of the International Security Studies Section of the International Studies
Association, October 2010


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Panelist, “In and Of the World,” Panel on Global Affairs in the 21st Century, Center for Global
Affairs, New York University, March 2010

Moderator, “Primacy, Perils, and Players: What Does the Future Hold for American Security?”
Panel of Faculty Symposium on Global Challenges Facing the Obama Administration, Center for
Global Affairs, New York University, March 2009

“Europe’s Broken Border: The Problem of Illegal Immigration, Smuggling and Trafficking via
Greece and the Implications for Western Security,” presentation delivered at the Center for
Global Affairs, New York University, February 2009

“The Dangers of Democratization: Implications for Southeast Europe,” address delivered at the
University of Athens, Athens, Greece, May 2008

Participant, “U.S. National Intelligence: The Iran National Intelligence Estimate,” Council on
Foreign Relations, New York, April 2008

Moderator, First Friday Lunch Series, “Intelligence in the Post-9/11 World: An Off-the-Record
Conversation with Dr. Joseph Helman (U.S. Senior National Intelligence Service),” Center for
Global Affairs, New York University, March 2008

Participant, “U.S. National Intelligence: Progress and Challenges,” Council on Foreign
Relations, New York, March 2008

Moderator, First Friday Lunch Series, “Public Diplomacy: The Steel Backbone of America’s
Soft Power: An Off-the-Record Conversation with Dr. Judith Baroody (U.S. Department of
State),” Center for Global Affairs, New York University, October 2007

“The Problems and Challenges of Democratization: Implications for Latin America,”
presentation delivered at the Argentinean Center for the Study of Strategic and International
Relations Third Conference on the International Relations of South America (IBERAM III),
Buenos Aires, Argentina, September 2007

“The Importance of Higher Education to the Hellenic-American Community,” keynote address
to the annual Pan-Icarian Youth Convention, New York, May 2007

Moderator, First Friday Lunch Series, Panel Spotlighting Graduate Theses and Capstone
Projects, Center for Global Affairs, New York University, April 2007

Convener, U.S. Department of State Foreign Officials Delegation Working Group on the Kurds
and Turkey, March 2007

“Soft Power and International Law in a Globalizing Latin America,” round-table presentation
delivered at the Argentinean Center for the Study of Strategic and International Relations
Twelfth Conference of Students and Graduates of International Relations in the Southern Cone
(CONOSUR XII), Buenos Aires, Argentina, November 2006


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Moderator, First Friday Lunch Series, “From Berkeley to Baghdad to the Beltway: An Off-the-
Record Conversation with Dr. Catherine Dale (U.S. Department of Defense),” Center for Global
Affairs, New York University, November 2006

Chairperson, Roundtable on Presidential Privilege and Power Reconsidered in a Post-9/11 Era,
American Political Science Association Annual Meeting, September 2006

“Constitutional Controversies,” round-table presentation delivered at City University of New
York-College of Staten Island, September 2005

“The Future of the Cyprus Conflict,” address to be delivered at City University of New York
College of Staten Island, April 2005

“The 2004 Election and the Future of American Foreign Policy,” address delivered at City
University of New York College of Staten Island, December 2004

“One Culprit for the 9/11 Attacks: Political Realism,” address delivered at City University of
New York-College of Staten Island, September 2004

“Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
Coup,” address delivered at London School of Economics, November 2003

“Beware of Europeans Bearing Gifts? Cypriot Accession to the EU and the Prospects for Peace,”
address delivered at Conference on Mediterranean Stability, Security, and Cooperation, Austrian
Defense Ministry, Vienna, Austria, October 2003

Co-Chair, Panel on Ideational and Strategic Aspects of Greek International Relations, London
School of Economics Symposium on Modern Greece, London, June 2003

“Greece between Old and New Europe,” address delivered at London School of Economics, June
2003

Co-Chair, Panel on International Regimes and Genocide, International Association of Genocide
Scholars Annual Meeting, Galway, Ireland, June 2003

“American Cooperation with International Tribunals,” paper presented at the International
Association of Genocide Scholars Annual Meeting, Galway, Ireland, June 2003

“Is the Unipolar Moment Fading?” address delivered at London School of Economics, May 2003

“Cyprus, Turkey, and the European Union,” address delivered at London School of Economics,
February 2003

“Bridging the Greek-Turkish Divide,” address delivered at Northwestern University, May 1998

“The CNN Effect: Fact or Fiction?” address delivered at Catholic University, April 1998


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“The Current Political Situation in Cyprus,” address delivered at AMIDEAST, July 1997

“Making the Peace Happen in Cyprus,” presentation delivered at the U.S. Institute of Peace in
July 1997

“The CNN Effect: The Impact of the Media during Diplomatic Crises and Complex
Emergencies,” a series of presentations delivered in Cyprus (including at Ledra Palace), May
1997

“Are Policy-Makers Misreading the Public? American Public Opinion on the United Nations,”
paper presented at the International Studies Association Annual Meeting, Toronto, Canada,
March 1997 (with Shoon Murray)

“The Political and Diplomatic Consequences of Greece’s Recent National Elections,”
presentation delivered at the National Foreign Affairs Training Center, Arlington, VA,
September 1996

“Prospects for Greek-Turkish Reconciliation,” presentation delivered at the U.S. Institute of
Peace Conference on Greek-Turkish Relations, Washington, D.C., June, 1996 (with Theodore A.
Couloumbis)

“Greek-Turkish Reconciliation,” paper presented at the Karamanlis Foundation and Fletcher
School of Diplomacy Joint Conference on The Greek-U.S. Relationship and the Future of
Southeastern Europe, Washington, D.C., May, 1996 (with Theodore A. Couloumbis)

“The Path toward Peace in the Eastern Mediterranean and the Balkans in the Post-Cold War
Era,” paper presented at the International Studies Association Annual Meeting, San Diego, CA,
March, 1996 (with Theodore A. Couloumbis)

“Peace Operations: The View from the Public,” paper presented at the International Studies
Association Annual Meeting, San Diego, CA, March, 1996

Chairperson, Roundtable on Peace Operations, International Security Section of the International
Studies Association Annual Meeting, Rosslyn, VA, October, 1995

“Chaos and Complexity in International Politics: Epistemological Implications,” paper presented
at the International Studies Association Annual Meeting, Washington, D.C., March, 1994

“At What Cost? American Mass Public Opinion and the Use of Force Abroad,” paper presented
at the International Studies Association Annual Meeting, Washington, D.C., March, 1994 (with
Daniel B. O'Connor)

“American Mass Public Opinion and the Use of Force Abroad,” presentation delivered at the
United States Institute of Peace, Washington, D.C., February, 1994 (with Daniel B. O'Connor)




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“For a Good Cause: American Mass Public Opinion and the Use of Force Abroad,” paper
presented at the Annual Meeting of the Foreign Policy Analysis/Midwest Section of the
International Studies Association, Chicago, IL, October, 1993 (with Daniel B. O’Connor)

“American International Narcotics Control Policy: A Critical Evaluation,” presentation delivered
at the American University Drug Policy Forum, Washington, D.C., November, 1991

“American National Security in the Post-Cold War Era: Social Defense, the War on Drugs, and
the Department of Justice,” paper presented at the Association of Professional Schools of
International Affairs Conference, Denver, CO, February, 1991


Referee for Grant Organizations, Peer-Reviewed Journals, and Book Publishers

National Science Foundation, Division of Social and Economic Sciences

American Journal of Preventive Medicine

American Journal of Public Health

American Political Science Review

British Medical Journal (BMJ)

Comparative Political Studies

Injury Epidemiology

Journal of Public and International Affairs

Millennium

Political Behavior

Presidential Studies Quarterly

Victims & Offenders

Violence and Victims

Brill Publishers

Johns Hopkins University Press

Routledge




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Service to University, Profession, and Community

Participant, Minnesota Chiefs of Police Association, Survey of Measures to Reduce Gun
Violence, 2023

Member, Regional Gun Violence Research Consortium, Nelson A. Rockefeller Institute of
Government, State University of New York, 2022-

Founding Member, Scientific Union for the Reduction of Gun Violence (SURGE), Columbia
University, 2019-

Contributing Lecturer, Johns Hopkins University, Massive Open Online Course on Evidence-
Based Gun Violence Research, Funded by David and Lucile Packard Foundation, 2019

Member, Group of Gun Violence Experts, New York Times Upshot Survey, 2017

Member, Guns on Campus Assessment Group, Johns Hopkins University and Association of
American Universities, 2016

Member, Fulbright Selection Committee, Fulbright Foundation, Athens, Greece, 2012

Faculty Advisor, Global Affairs Graduate Society, New York University, 2009-2011

Founder and Coordinator, Graduate Transnational Security Studies, Center for Global Affairs,
New York University, 2009-2011

Organizer, Annual Faculty Symposium, Center for Global Affairs, New York University, 2009

Member, Faculty Search Committees, Center for Global Affairs, New York University, 2007-
2009

Member, Graduate Program Director Search Committee, Center for Global Affairs, New York
University, 2008-2009

Developer, Transnational Security Studies, Center for Global Affairs, New York University,
2007-2009

Participant, Council on Foreign Relations Special Series on National Intelligence, New York,
2008

Member, Graduate Certificate Curriculum Committee, Center for Global Affairs, New York
University, 2008

Member, Faculty Affairs Committee, New York University, 2006-2008

Member, Curriculum Review Committee, Center for Global Affairs, New York University,
2006-2008


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Member, Overseas Study Committee, Center for Global Affairs, New York University, 2006-
2007

Participant, New York Academic Delegation to Israel, Sponsored by American-Israel Friendship
League, 2006

Member, Science, Letters, and Society Curriculum Committee, City University of New York-
College of Staten Island, 2006

Member, Graduate Studies Committee, City University of New York-College of Staten Island,
2005-2006

Member, Summer Research Grant Selection Committee, City University of New York-College
of Staten Island, 2005

Director, College of Staten Island Association, 2004-2005

Member of Investment Committee, College of Staten Island Association, 2004-2005

Member of Insurance Committee, College of Staten Island Association, 2004-2005

Member, International Studies Advisory Committee, City University of New York-College of
Staten Island, 2004-2006

Faculty Advisor, Pi Sigma Alpha National Political Science Honor Society, City University of
New York-College of Staten Island, 2004-2006

Participant, World on Wednesday Seminar Series, City University of New York-College of
Staten Island, 2004-2005

Participant, American Democracy Project, City University of New York-College of Staten
Island, 2004

Participant, Philosophy Forum, City University of New York-College of Staten Island, 2004

Commencement Liaison, City University of New York-College of Staten Island, 2004

Member of Scholarship Committee, Foundation of Pan-Icarian Brotherhood, 2003-2005, 2009

Scholarship Chairman, Foundation of Pan-Icarian Brotherhood, 2001-2003

Faculty Advisor to the Kosmos Hellenic Society, George Washington University, 2001-2002

Member of University of Pennsylvania’s Alumni Application Screening Committee, 2000-2002

Participant in U.S. Department of State’s International Speakers Program, 1997


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Participant in Yale University’s United Nations Project, 1996-1997

Member of Editorial Advisory Board, Journal of Public and International Affairs, Woodrow
Wilson School of Public and International Affairs, Princeton University, 1991-1993

Voting Graduate Student Member, School of International Service Rank and Tenure Committee,
American University, 1990-1992

Member of School of International Service Graduate Student Council, American University,
1990-1992

Teaching Assistant for the Several Courses (World Politics, Beyond Sovereignty, Between Peace
and War, Soviet-American Security Relations, and Organizational Theory) at School of
International Service Graduate Student Council, American University, 1989-1992

Representative for American University at the Annual Meeting of the Association of
Professional Schools of International Affairs, Denver, Colorado, 1991


Expert Witness Service

Expert for State of Oregon, Oregon Firearms Federation, et al. v. Brown, et al., United States
District Court for the District of Oregon, Case Number 22-cv-01815-IM, Portland, OR, 2023-

Expert for State of Hawaii, National Association for Gun Rights, et al. v. Shikada, United States
District Court for the District of Hawaii, Case Number 22-00404-DKW-RT, Honolulu, HI, 2023-

Expert for State of Massachusetts, National Association for Gun Rights and Capen v. Baker and
Healey, United States District Court for the District of Massachusetts, Case Number 22-cv-
11431-FDS, Boston, MA, 2023-

Expert for City of Highland Park, Illinois, National Association for Gun Rights and Goldman v.
Highland Park, United States District Court for Northern District of Illinois, Case Number 22-
cv-04774, Chicago, IL, 2022-

Expert for State of Colorado, Gates, et al. v. Polis, United States District Court for District of
Colorado, 22-cv-01866-NYW-SKC, Denver, CO, 2022-

Expert for State of Washington, Brumback and Gimme Guns v. Ferguson, et al., United States
District Court for Eastern District of Washington, Case Number 22-cv-03093-MKD, Yakima,
WA, 2022-

Expert for State of Washington, Sullivan, et al. v. Ferguson, et al., United States District Court
for Western District of Washington, Case Number, 22-cv-05403-DGE, Seattle, WA, 2022-

Expert for State of California, Rupp v. Bonta, United States District Court for Eastern District of
California, Case Number 17-cv-00903-WBS-KJN, Sacramento, CA, 2022-

Expert for County of Cook, Illinois, Viramontes v. County of Cook, IL, United States District
Court for Northern District of Illinois, Case Number 21-cv-04595, Chicago, IL, 2022-

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Expert for Government of Canada, Parker and K.K.S. Tactical Supplies Ltd. v. Attorney General
of Canada, Federal Court, Court File No.: T-569-20, 2021-

Expert for Government of Canada, Canadian Coalition for Firearm Rights, et al. v. Attorney
General of Canada, Federal Court, Court File No.: T-577-20, 2021-

Expert for Government of Canada, Hipwell v. Attorney General of Canada, Federal Court, Court
File No.: T-581-20, 2021-

Expert for Government of Canada, Doherty, et al. v. Attorney General of Canada, Federal Court,
Court File No.: T-677-20, 2021-

Expert for Government of Canada, Generoux, et al. v. Attorney General of Canada, Federal
Court, Court File No.: T-735-20, 2021-

Expert for Government of Canada, Eichenberg, et al. v. Attorney General of Canada, Federal
Court, Court File No.: T-905-20, 2021-

Expert for State of California, Nguyen v. Bonta, United States District Court for Southern
District of California, Case Number 20-cv-02470-WQH-MDD, San Diego, CA, 2021-

Expert for State of California, Jones v. Bonta, United States District Court for Southern District
of California, Case Number 19-cv-01226-L-AHG, San Diego, CA, 2021-

Expert for State of California, Miller v. Becerra, United States District Court for Southern
District of California, Case Number 19-cv-1537-BEN-JLB, San Diego, CA, 2019-

Expert for Plaintiffs, Ward et al. v. Academy Sports + Outdoor, District Court Bexar County,
Texas, 224th Judicial District, Cause Number 2017CI23341, Bexar County, TX, 2019-2019

Expert for State of California, Duncan v. Becerra, United States District Court for Southern
District of California, Case Number 17-cv-1017-BEN-JLB, San Diego, CA, 2017-

Expert for State of California, Wiese v. Becerra, United States District Court for Eastern District
of California, Case Number 17-cv-00903-WBS-KJN, Sacramento, CA, 2017-

Expert for State of Colorado, Rocky Mountain Gun Owners v. Hickenlooper, District Court for
County and City of Denver, Colorado, Case Number 2013CV33879, Denver, CO, 2016-2017




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Affiliations, Associations, and Organizations (Past and Present)

Academy of Political Science (APS)

American Political Science Association (APSA)

Anderson Society of American University

Carnegie Council Global Ethics Network

Columbia University Scientific Union for the Reduction of Gun Violence (SURGE)

Firearm Safety among Children and Teens (FACTS)

International Political Science Association (IPSA)

International Studies Association (ISA)

New York Screenwriters Collective

Pan-Icarian Brotherhood

Pi Sigma Alpha

Regional Gun Violence Research Consortium

Society for Advancement of Violence and Injury Research (SAVIR)

United States Department of State Alumni Network

United States Institute of Peace Alumni Association

University of Pennsylvania Alumni Association




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Grants, Honors, and Awards

Co-Investigator, A Nationwide Case-Control Study of Firearm Violence Prevention Tactics and
Policies in K-12 School, National Institutes of Health, 2021-2024 (Charles Branas and Sonali
Rajan MPIs)

Senior Fulbright Fellowship, 2012

Professional Staff Congress Research Grantee, City University of New York, 2004-2005

Research Assistance Award (Two Times), City University of New York-College of Staten
Island, 2004

Summer Research Fellowship, City University of New York-College of Staten Island, 2004

European Institute Associate Fellowship, London School of Economics, 2003-2004

Hellenic Observatory Defense Analysis Research Fellowship, London School of Economics,
2002-2003

United States Institute of Peace Certificate of Meritorious Service, 1996

National Science Foundation Dissertation Research Grant, 1995 (declined)

Alexander George Award for Best Graduate Student Paper, Runner-Up, Foreign Policy Analysis
Section, International Studies Association, 1994

Dean’s Scholar Fellowship, School of International Service, American University, 1989-1992

Graduate Research and Teaching Assistantship, School of International Service, American
University, 1989-1992

American Hellenic Educational Progressive Association (AHEPA) College Scholarship, 1986

Political Science Student of the Year, Wilkes-Barre Area School District, 1986




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                                       Exhibit B
               High-Fatality Mass Shootings in the United States, 1991-2022

                                                                  Involved       Involved
                                                                   Assault    Large-Capacity
        Date                  City               State   Deaths   Weapon(s)    Magazine(s)
  1    1/26/1991            Chimayo              NM        7         N              N
  2     8/9/1991            Waddell               AZ       9         N              N
  3   10/16/1991             Killeen              TX      23         N              Y
  4    11/7/1992   Morro Bay and Paso Robles     CA        6         N              N
  5     1/8/1993            Palatine              IL       7         N              N
  6    5/16/1993             Fresno              CA        7         Y              Y
  7     7/1/1993          San Francisco          CA        8         Y              Y
  8    12/7/1993          Garden City            NY        6         N              Y
  9    4/20/1999            Littleton            CO       13         Y              Y
 10    7/12/1999             Atlanta             GA        6         N              U
 11    7/29/1999             Atlanta             GA        9         N              Y
 12    9/15/1999           Fort Worth             TX       7         N              Y
 13    11/2/1999            Honolulu              HI       7         N              Y
 14   12/26/2000           Wakefield             MA        7         Y              Y
 15   12/28/2000          Philadelphia            PA       7         N              Y
 16    8/26/2002            Rutledge              AL       6         N              N
 17    1/15/2003            Edinburg              TX       6         Y              U
 18     7/8/2003            Meridian             MS        6         N              N
 19    8/27/2003            Chicago               IL       6         N              N
 20    3/12/2004             Fresno              CA        9         N              N
 21   11/21/2004           Birchwood              WI       6         Y              Y
 22    3/12/2005           Brookfield             WI       7         N              Y
 23    3/21/2005            Red Lake             MN        9         N              Y
 24    1/30/2006             Goleta              CA        7         N              Y
 25    3/25/2006             Seattle             WA        6         N              N
 26     6/1/2006          Indianapolis            IN       7         Y              Y
 27   12/16/2006           Kansas City            KS       6         N              N
 28    4/16/2007           Blacksburg            VA       32         N              Y
 29    10/7/2007            Crandon               WI       6         Y              Y
 30    12/5/2007             Omaha                NE       8         Y              Y
 31   12/24/2007            Carnation            WA        6         N              U
 32     2/7/2008           Kirkwood              MO        6         N              Y
 33     9/2/2008             Alger               WA        6         N              U
 34   12/24/2008             Covina              CA        8         N              Y
 35    1/27/2009          Los Angeles            CA        6         N              N
 36    3/10/2009   Kinston, Samson, and Geneva    AL      10         Y              Y


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                                                         Involved       Involved
                                                          Assault    Large-Capacity
           Date          City           State   Deaths   Weapon(s)    Magazine(s)
 37    3/29/2009       Carthage         NC        8         N              N
 38     4/3/2009      Binghamton        NY       13         N              Y
 39    11/5/2009       Fort Hood         TX      13         N              Y
 40    1/19/2010      Appomattox        VA        8         Y              Y
 41     8/3/2010      Manchester         CT       8         N              Y
 42     1/8/2011        Tucson           AZ       6         N              Y
 43     7/7/2011     Grand Rapids        MI       7         N              Y
 44     8/7/2011   Copley Township      OH        7         N              N
 45   10/12/2011      Seal Beach        CA        8         N              N
 46   12/25/2011       Grapevine         TX       6         N              N
 47     4/2/2012        Oakland         CA        7         N              N
 48    7/20/2012        Aurora          CO       12         Y              Y
 49     8/5/2012      Oak Creek          WI       6         N              Y
 50    9/27/2012      Minneapolis       MN        6         N              Y
 51   12/14/2012       Newtown           CT      27         Y              Y
 52   7/26//2013        Hialeah          FL       6         N              Y
 53    9/16/2013      Washington        DC       12         N              N
 54     7/9/2014        Spring           TX       6         N              Y
 55    9/18/2014          Bell           FL       7         N              U
 56    2/26/2015        Tyrone          MO        7         N              U
 57    5/17/2015         Waco            TX       9         N              Y
 58    6/17/2015      Charleston         SC       9         N              Y
 59     8/8/2015        Houston          TX       8         N              U
 60    10/1/2015       Roseburg         OR        9         N              Y
 61    12/2/2015    San Bernardino      CA       14         Y              Y
 62    2/21/2016      Kalamazoo          MI       6         N              Y
 63    4/22/2016        Piketon         OH        8         N              U
 64    6/12/2016        Orlando          FL      49         Y              Y
 65    5/27/2017      Brookhaven        MS        8         Y              Y
 66    9/10/2017         Plano           TX       8         Y              Y
 67    10/1/2017       Las Vegas        NV       60         Y              Y
 68    11/5/2017   Sutherland Springs    TX      25         Y              Y
 69    2/14/2018       Parkland          FL      17         Y              Y
 70    5/18/2018       Santa Fe          TX      10         N              N
 71   10/27/2018       Pittsburgh        PA      11         Y              Y
 72    11/7/2018    Thousand Oaks       CA       12         N              Y
 73    5/31/2019    Virginia Beach      VA       12         N              Y
 74     8/3/2019        El Paso          TX      23         Y              Y
 75     8/4/2019        Dayton          OH        9         Y              Y


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                                                                                  Involved             Involved
                                                                                   Assault          Large-Capacity
               Date                 City                  State     Deaths        Weapon(s)          Magazine(s)
  76     8/31/2019          Midland and Odessa             TX          7               Y                    Y
  77     3/15/2020                Moncure                  NC          6               U                    U
  78       6/4/2020         Valhermoso Springs             AL          7               Y                    Y
  79       9/7/2020               Aguanga                  CA          7               U                    U
  80       2/2/2021              Muskogee                  OK          6               N                    U
  81     3/16/2021          Acworth and Atlanta            GA          8               N                    Y
  82     3/22/2021                Boulder                  CO         10               Y                    Y
  83       4/7/2021              Rock Hill                 SC          6               Y                    Y
  84     4/15/2021              Indianapolis               IN          8               Y                    Y
  85       5/9/2021          Colorado Springs              CO          6               N                    Y
  86     5/26/2021                San Jose                 CA          9               N                    Y
  87     1/23/2022               Milwaukee                 WI          6               N                    U
  88       4/3/2022             Sacramento                 CA          6               N                    Y
  89     5/14/2022                Buffalo                  NY         10               Y                    Y
  90     5/24/2022                 Uvalde                  TX         21               Y                    Y
  91       7/4/2022            Highland Park               IL          7               Y                    Y
  92    10/27/2022             Broken Arrow                OK          7               N                    U
  93    11/22/2022              Chesapeake                 VA          6               N                    U


Note: High-fatality mass shootings are mass shootings resulting in 6 or more fatalities, not including the
perpetrator(s), regardless of location or motive. For purposes of this Exhibit, a high-fatality mass shooting was
coded as involving an assault weapon if at least one of the firearms discharged was defined as an assault weapon in
(1) the 1994 federal Assault Weapons Ban; (2) the statutes of the state where the shooting occurred; or (3) a legal or
judicial declaration issued by a state official. For purposes of this Exhibit, a high-fatality mass shooting was coded
as involving a large-capacity magazine if at least one of the firearms discharged was armed with a detachable
ammunition-feeding device holding more than 10 bullets. Incidents in gray shade are those incidents that occurred
at a time when and in a state where legal prohibitions on both assault weapons and large-capacity magazines were in
effect statewide or nationwide.

Sources: Louis Klarevas, Rampage Nation: Securing America from Mass Shootings (2016); Louis Klarevas, et al.,
The Effect of Large-Capacity Magazine Bans on High-Fatality Mass Shootings, 109 American Journal of Public
Health 1754 (2019), available at https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2019.305311 (last
accessed December 27, 2022); and “Gun Violence Archive,” available at https://www.gunviolencearchive.org (last
accessed January 3, 2023). The Gun Violence Archive was only consulted for identifying high-fatality mass
shootings that occurred since January 1, 2018.




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                           Mass Shootings Resulting in Double-Digit Fatalities in American History (1776-2022>


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                                       Mass Shootings Resulting in Double-Digit Fatalities in American History (1949-2022)

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                 • Assault Weapons and Large-Capacity Magazines Involved                    • No Large-Capacity Magazines or Assault Weapons Involved
                 • Large Capacity Magazine Involved (But Not Assault Weapon Involved)
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The Effect of Large-Capacity Magazine Bans on
High-Fatality Mass Shootings, 1990–2017
Louis Klarevas, PhD, Andrew Conner, BS, David Hemenway, PhD


    Objectives. To evaluate the effect of large-capacity magazine (LCM) bans on the                                     on assault weapons in 1989, but LCMs
frequency and lethality of high-fatality mass shootings in the United States.                                           remained unregulated in the state until 1994,
    Methods. We analyzed state panel data of high-fatality mass shootings from 1990 to                                  when the federal ban went into effect. In
2017. We ﬁrst assessed the relationship between LCM bans overall, and then federal                                      2000, California’s own statewide ban on
and state bans separately, on (1) the occurrence of high-fatality mass shootings (logit                                 LCMs took effect as a safeguard in the event
regression) and (2) the deaths resulting from such incidents (negative binomial analysis).                              the federal ban expired, which happened in
                                                                                                                        2004.10,11
We controlled for 10 independent variables, used state ﬁxed effects with a continuous
                                                                                                                            LCMs provide a distinct advantage to
variable for year, and accounted for clustering.
                                                                                                                        active shooters intent on murdering numer-
    Results. Between 1990 and 2017, there were 69 high-fatality mass shootings. Attacks
                                                                                                                        ous people: they increase the number of
involving LCMs resulted in a 62% higher mean average death toll. The incidence of
                                                                                                                        rounds that can be ﬁred at potential victims
high-fatality mass shootings in non–LCM ban states was more than double the rate in                                     before having to pause to reload or switch
LCM ban states; the annual number of deaths was more than 3 times higher. In mul-                                       weapons. Evidence shows that victims struck
tivariate analyses, states without an LCM ban experienced signiﬁcantly more                                             by multiple rounds are more likely to die,
high-fatality mass shootings and a higher death rate from such incidents.                                               with 2 studies ﬁnding that, when compared
    Conclusions. LCM bans appear to reduce both the incidence of, and number of people                                  with the fatality rates of gunshot wound
killed in, high-fatality mass shootings. (Am J Public Health. 2019;109:1754–1761. doi:                                  victims who were hit by only a single bullet,
10.2105/AJPH.2019.305311)                                                                                               the fatality rates of those victims hit by more
                                                                                                                        than 1 bullet were more than 60% higher.12,13
                                                                                                                        Being able to strike human targets with more

T     he recent spate of gun massacres in the       than 10 bullets—unless the magazines were                           than 1 bullet increases shooters’ chances of
      United States has re-energized the debate     manufactured before the enactment of the                            killing their victims. Analyses of gunshot
over how to prevent such tragedies.1 A              ban. LCM restrictions are arguably the most                         wound victims at level I trauma centers have
common response to high-proﬁle acts of gun          important component of assault weapons                              suggested that this multiple-impact capability
violence is the promotion of tighter gun            bans because they also apply to semiautomatic                       is often attributable to the use of LCMs.14,15
legislation, and there is some evidence that        ﬁrearms without military-style features.8,9                             In addition, LCMs provide active shooters
laws imposing tighter restrictions on access to         Beginning with New Jersey in 1990, some                         with extended cover.16 During an attack,
ﬁrearms have been associated with lower             states implemented their own regulations on                         perpetrators are either ﬁring their guns or not
levels of mass shootings.2 One proposal that        LCMs. Today, 9 states and the District of                           ﬁring their guns. While gunmen are ﬁring, it is
has received renewed interest involves              Columbia restrict the possession of LCMs.                           extremely difﬁcult for those in the line of ﬁre
restricting the possession of large-capacity        The bans vary along many dimensions, in-                            to take successful defensive maneuvers. But if
magazines (LCMs).3–5 This raises an impor-          cluding maximum bullet capacity of per-                             gunmen run out of bullets, there are lulls in
tant question: what has been the impact of          missible magazines, grandfathering of existing                      the shootings, as the perpetrators are forced
LCM bans on high-fatality mass shootings?           LCMs, and applicable ﬁrearms. Moreover,                             to pause their attacks to reload or change
    In an attempt to arrest an uptick in            overlaps sometimes exist between assault                            weapons. These pauses provide opportunities
mass shooting violence in the early 1990s,          weapons bans and LCM bans, but not in all                           for people to intervene and disrupt a shooting.
Congress in 1994 enacted the federal as-            states. For example, California instituted a ban                    Alternatively, they provide individuals in
sault weapons ban, which, among other
things, restricted ownership of certain             ABOUT THE AUTHORS
ammunition-feeding devices.6,7 The law,             Louis Klarevas is with the Teachers College, Columbia University, New York, NY. Andrew Conner is with the Frank H.
                                                    Netter, MD, School of Medicine, Quinnipiac University, North Haven, CT. David Hemenway is with the Harvard T. H.
which contained a sunset provision, was             Chan School of Public Health, Harvard University, Boston, MA.
allowed to expire a decade later. Pursuant to          Correspondence should be sent to Louis Klarevas, Research Professor, Ofﬁce of the Provost, Teachers College, Columbia University,
that ban (18 USC §921(a) [1994]; repealed), it      525 W 120th St, New York, NY 10027 (e-mail: ljk2149@tc.columbia.edu). Reprints can be ordered at http://www.ajph.org
                                                    by clicking the “Reprints” link.
was illegal to possess LCMs—deﬁned as any              This article was accepted July 22, 2019.
ammunition-feeding device holding more                 doi: 10.2105/AJPH.2019.305311



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harm’s way with a chance to ﬂee or hide.            the search and identiﬁcation strategy we           states. To control for this, we utilized
Legislative endeavors that restrict access to       employed.)                                         cluster-robust standard errors to account for
LCMs are implemented with the express                   The ﬁrst state to enact an LCM ban was         the clustering of observations. When the
objective of reducing an active shooter’s           New Jersey in 1990. Since then, another 8          dependent variable reﬂected deaths (count
multiple-impact capability and extended             states and the District of Columbia have           data), we used negative binomial regression;
cover.10                                            enacted LCM bans (Table A, available as a          Gius used a Poisson regression, and we used
   Although mass shootings have received            supplement to the online version of this article   that approach as a sensitivity analysis.26 We
extensive study, there has been little scholarly    at http://www.ajph.org).10 With no LCM             included state ﬁxed effects. We used a con-
analysis of LCM bans.17–24 The studies un-          bans in effect before 1990, a priori we chose      tinuous variable for year because the rate of
dertaken that have broached the subject of          that year to begin our analysis to avoid in-       high-fatality mass shootings has increased
ammunition capacity have primarily con-             ﬂating the impact of the bans. Our data set        over time. For purposes of sensitivity
centrated on the effect of LCM bans on vi-          extends 28 years, from 1990 through 2017. As       analysis, we also replaced the linear yearly
olent crimes other than mass shootings or on        a secondary analysis, we used a 13-year data       trend with a quadratic function. We per-
the impact of the assault weapons bans on           set, beginning in 2005, the ﬁrst full year after   formed multivariate statistical analyses by
mass shootings.25–27                                the federal assault weapons ban expired.           using Stata/IC version 15.1 (StataCorp LP,
   Evidence suggests that ﬁrearms equipped              Our primary outcome measures were the          College Station, TX).
with LCMs are involved in a disproportionate        incidence of high-fatality mass shootings and          Population data came from the US Census
share of mass shootings.10,20,28 Proponents of      the number of victims killed. We distin-           Bureau, unemployment data came from the
LCM bans believe that without LCMs, fewer           guished between high-fatality mass shootings       Bureau of Labor Statistics, and imprisonment
people will be killed in a mass shooting, other     occurring with and without a ban in effect.        data came from the Bureau of Justice Statistics.
things equal. In turn, fewer shootings will         Because the federal ban was in effect na-          The percentage of households with a ﬁrearm
cross the threshold required to be classiﬁed as     tionwide from September 13, 1994, through          was a validated proxy (the percentage of
what we call a “high-fatality mass shooting”        September 12, 2004, we coded every state as        suicides that are ﬁrearm suicides) derived from
(‡ 6 victims shot to death). If LCM bans are        being under an LCM ban during that 10-year         Centers for Disease Control and Prevention
effective, we should expect to ﬁnd that             timeframe.                                         National Vital Statistics Data.33
high-fatality mass shootings occur at a lower           Our interest was in the effect of LCM
incidence rate when LCM bans are in place,          bans. We ran regression analyses to determine
and fewer people are killed in such attacks.        if any relationship between LCM bans and
But have LCM bans actually saved lives in           high-fatality mass shootings can be explained      RESULTS
practice? To our knowledge, the impact of           by other factors. In our state–year panel              Between 1990 and 2017, there were 69
LCM bans has never been systematically              multivariate analyses, the outcome variables       high-fatality mass shootings (‡ 6 victims shot
assessed. This study ﬁlls that void.                were (1) whether an LCM-involved high-             to death) in the United States. Of these,
                                                    fatality mass shooting occurred, (2) whether       44 (64%) involved LCMs, 16 did not (23%),
                                                    any high-fatality mass shooting occurred, (3)      and for 9 (13%) we could not determine
                                                    the number of fatalities in an LCM-involved        whether LCMs were used (Table 1). The
METHODS                                             high-fatality mass shooting, and (4) the           mean number of victims killed in the 44
    Mass shootings have been deﬁned in a            number of fatalities in any high-fatality mass     LCM-involved high-fatality mass shootings
variety of ways, with some analyses setting the     shooting. Our analyses ﬁrst combined and           was 11.8; including the unknowns resulted in
casualty threshold as low as 2 people wounded       then separated federal and state LCM bans.         that average falling to 11.0 (not shown). The
or killed and others requiring a minimum of             Consistent with the suggestions and            mean number of victims killed in high-fatality
7 gunshot victims.18,22,29 We focused on            practices of the literature on ﬁrearm homi-        mass shootings in which the perpetrator did
high-fatality mass shootings—the deadliest          cides and mass shootings, our explanatory          not use an LCM was 7.3 (Table B, available as
and most disturbing of such incidents—which         variables are population density; proportion       a supplement to the online version of this
are deﬁned as intentional crimes of gun vi-         of population aged 19 to 24 years, aged 25 to      article at http://www.ajph.org); including
olence with 6 or more victims shot to death,        34 years, that is Black, and with a college        the unknowns resulted in that average falling
not including the perpetrators.20,30,31 After an    degree; real per-capita median income; un-         to 7.1 (not shown). When we excluded
exhaustive search, we identiﬁed 69 such in-         employment rate; and per-capita prison             unknown cases, the data indicated that uti-
cidents in the United States between 1990           population.2,26,27,32 We also added a variable     lizing LCMs in high-fatality mass shootings
and 2017. We then discerned whether each            for percentage of households with a ﬁrearm.        resulted in a 62% increase in the mean
high-fatality mass shooting involved a LCM          All regression models controlled for total state   death toll.
—unless otherwise stated, deﬁned consistent         population. When the dependent variable                Data sets of mass shooting fatalities by their
with the 1994 federal ban as a detachable           reﬂected occurrences of incidents (ordered         nature involve truncated data, with the mode
ammunition-feeding device capable of                choice data), we used logit regression; we ran     generally being the baseline number of fa-
holding more than 10 bullets. (See Table 1 for      probit regression as a sensitivity analysis. We    talities required to be included in the data
a list of incidents and for additional details on   had multiple observations for individual           set (6 fatalities in the current study). Our data


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    TABLE 1—High-Fatality Mass Shootings in the United States, 1990–2017

Incident           Date                           City           State   LCM   Deaths, No.   State LCM Ban       Federal Assault Weapons Ban
1              Jun 18, 1990        Jacksonville                   FL      Y         9             N                          N
2              Jan 26, 1991        Chimayo                       NM      N          7             N                          N
3              Aug 9, 1991         Waddell                        AZ     N          9             N                          N
4              Oct 16, 1991        Killeen                        TX      Y        23             N                          N
5              Nov 7, 1992         Morro Bay and Paso Robles      CA     N          6             N                          N
6              Jan 8, 1993         Palatine                       IL     N          7             N                          N
7              May 16, 1993        Fresno                         CA      Y         7             N                          N
8              Jul 1, 1993         San Francisco                  CA      Y         8             N                          N
9              Dec 7, 1993         Garden City                    NY      Y         6             N                          N
10             Apr 20, 1999        Littleton                      CO      Y        13             Y                          Y
11             Jul 12, 1999        Atlanta                        GA     U          6             Y                          Y
12             Jul 29, 1999        Atlanta                        GA      Y         9             Y                          Y
13             Sep 15, 1999        Fort Worth                     TX      Y         7             Y                          Y
14             Nov 2, 1999         Honolulu                       HI      Y         7             Y                          Y
15             Dec 26, 2000        Wakeﬁeld                      MA       Y         7             Y                          Y
16             Dec 28, 2000        Philadelphia                   PA      Y         7             Y                          Y
17             Aug 26, 2002        Rutledge                       AL     N          6             Y                          Y
18             Jan 15, 2003        Edinburg                       TX     U          6             Y                          Y
19             Jul 8, 2003         Meridian                       MS     N          6             Y                          Y
20             Aug 27, 2003        Chicago                        IL     N          6             Y                          Y
21             Mar 12, 2004        Fresno                         CA     N          9             Y                          Y
22             Nov 21, 2004        Birchwood                      WI      Y         6             N                          N
23             Mar 12, 2005        Brookﬁeld                      WI      Y         7             N                          N
24             Mar 21, 2005        Red Lake                      MN       Y         9             N                          N
25             Jan 30, 2006        Goleta                         CA      Y         7             Y                          N
26             Mar 25, 2006        Seattle                       WA       Y         6             N                          N
27             Jun 1, 2006         Indianapolis                   IN      Y         7             N                          N
28             Dec 16, 2006        Kansas City                    KS     N          6             N                          N
29             Apr 16, 2007        Blacksburg                     VA      Y        32             N                          N
30             Oct 7, 2007         Crandon                        WI      Y         6             N                          N
31             Dec 5, 2007         Omaha                          NE      Y         8             N                          N
32             Dec 24, 2007        Carnation                     WA      U          6             N                          N
33             Feb 7, 2008         Kirkwood                      MO       Y         6             N                          N
34             Sep 2, 2008         Alger                         WA      U          6             N                          N
35             Dec 24, 2008        Covina                         CA      Y         8             Y                          N
36             Jan 27, 2009        Los Angeles                    CA     N          6             Y                          N
37             Mar 10, 2009        Kinston, Samson, and Geneva    AL      Y        10             N                          N
38             Mar 29, 2009        Carthage                       NC     N          8             N                          N
39             Apr 3, 2009         Binghamton                     NY      Y        13             Y                          N
40             Nov 5, 2009         Fort Hood                      TX      Y        13             N                          N
41             Jan 19, 2010        Appomattox                     VA      Y         8             N                          N

                                                                                                                                  Continued



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 TABLE 1—Continued

Incident           Date                          City                 State       LCM         Deaths, No.       State LCM Ban          Federal Assault Weapons Ban
42             Aug 3, 2010         Manchester                          CT           Y              8                   N                            N
43             Jan 8, 2011         Tucson                              AZ           Y              6                   N                            N
44             Jul 7, 2011         Grand Rapids                        MI           Y              7                   N                            N
45             Aug 7, 2011         Copley Township                     OH          N               7                   N                            N
46             Oct 12, 2011        Seal Beach                          CA          N               8                   Y                            N
47             Dec 25, 2011        Grapevine                           TX          N               6                   N                            N
48             Apr 2, 2012         Oakland                             CA          N               7                   Y                            N
49             Jul 20, 2012        Aurora                              CO           Y             12                   N                            N
50             Aug 5, 2012         Oak Creek                           WI           Y              6                   N                            N
51             Sep 27, 2012        Minneapolis                        MN            Y              6                   N                            N
52             Dec 14, 2012        Newtown                             CT           Y             27                   N                            N
53             Jul 26, 2013        Hialeah                             FL           Y              6                   N                            N
54             Sep 16, 2013        Washington                          DC          N              12                   Y                            N
55             Jul 9, 2014         Spring                              TX           Y              6                   N                            N
56             Sep 18, 2014        Bell                                FL          U               7                   N                            N
57             Feb 26, 2015        Tyrone                             MO           U               7                   N                            N
58             May 17, 2015        Waco                                TX           Y              9                   N                            N
59             Jun 17, 2015        Charleston                          SC           Y              9                   N                            N
60             Aug 8, 2015         Houston                             TX          U               8                   N                            N
61             Oct 1, 2015         Roseburg                            OR           Y              9                   N                            N
62             Dec 2, 2015         San Bernardino                      CA           Y             14                   Y                            N
63             Feb 21, 2016        Kalamazoo                           MI           Y              6                   N                            N
64             Apr 22, 2016        Piketon                             OH          U               8                   N                            N
65             Jun 12, 2016        Orlando                             FL           Y             49                   N                            N
66             May 27, 2017        Brookhaven                          MS          U               8                   N                            N
67             Sep 10, 2017        Plano                               TX           Y              8                   N                            N
68             Oct 1, 2017         Las Vegas                           NV           Y             58                   N                            N
69             Nov 5, 2017         Sutherland Springs                  TX           Y             25                   N                            N

Note. LCM = large-capacity magazine; N = no; U = unknown; Y = yes. From September 13, 1994, until and including September 12, 2004, each and every state,
including the District of Columbia, was subject to a ban on LCMs pursuant to the federal assault weapons ban. To collect the data in Table 1, we searched the
following news media resources for every shooting that resulted in 6 or more fatalities: America’s Historical Newspapers, EBSCO, Factiva, Gannett Newsstand,
Google News Archive, Lexis-Nexis, Newspaper Archive, Newspaper Source Plus, Newspapers.com, Newswires, ProQuest Historical Newspapers, and ProQuest
Newsstand. We also reviewed mass shooting data sets maintained by Mother Jones, the New York Times, and USA Today. In addition to news media sources, we
reviewed reports on mass shootings produced by think tank, policy advocacy, and governmental organizations, including the US Federal Bureau of Investigation
Supplementary Homicide Reports, the crowdsourced Mass Shooting Tracker, and the open-source databases maintained by the Gun Violence Archive and
the Stanford University Geospatial Center. Finally, when it was relevant, we also reviewed court records as well as police, forensic, and autopsy reports. As a
general rule, when government sources were available, they were preferred over other sources. Furthermore, when media sources conﬂicted on the
number of casualties or the weaponry involved, the later sources were privileged (as later reporting is often more accurate).



set of high-fatality mass shootings was no              average of 8 fatalities per incident compared         which the perpetrators did not use LCMs,
exception. As such, the median average                  with 7 fatalities per incident for attacks not        50% (8/16) were in nonban states (Table B,
number of fatalities for each subset of in-             involving LCMs.                                       available as a supplement to the online version
cidents—those involving and those not in-                   For the 60 incidents in which it was known        of this article at http://www.ajph.org). Stated
volving LCMs—was necessarily lower than                 if an LCM was used, in 44 the perpetrator             differently, in nonban states, 81% (34/42) of
the mean average. Nevertheless, like the                used an LCM. Of the 44 incidents in which             high-fatality mass shooting perpetrators used
mean average, the median average was higher             the perpetrators used LCMs, 77% (34/44)               LCMs; in LCM-ban states, only 55% (10/18)
when LCMs were employed—a median                        were in nonban states. In the 16 incidents in         used LCMs.


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    The rate of high-fatality mass shootings                  127.4. In the LCM ban states, it was 41.6                      in nonban states was 8.1 per billion pop-
increased considerably after September 2004                   (Table 2).                                                     ulation; in LCM-ban states it was 2.5 per
(when the federal assault weapons ban ex-                        For the time period beginning with the                      billion population. The annual rate of high-
pired). In the 10 years the federal ban was in                ﬁrst full calendar year following the expiration               fatality mass shooting deaths in the non–LCM
effect, there were 12 high-fatality mass                      of the federal assault weapons ban (January 1,                 ban states was 102.1 per billion population; in
shootings and 89 deaths (an average of 1.2                    2005–December 31, 2017), there were 47                         the LCM ban states it was 23.3. In terms of
incidents and 8.9 deaths per year). Since then,               high-fatality mass shootings in the United                     LCM-involved high-fatality mass shootings,
through 2017, there have been 48 high-                        States. Of these, 39 occurred in states where                  we also found comparable wide differences in
fatality mass shootings and 527 deaths (an                    an LCM ban was not in effect, and 8 occurred                   incidence and fatality rates between ban and
average of 3.6 incidents and 39.6 deaths per                  in LCM ban locations. The annual incidence                     nonban states for the post–federal assault
year in these 13.3 years).                                    rate for high-fatality mass shootings in states                weapons ban period (2005–2017; Table 2).
    Of the 69 high-fatality mass shootings                    without an LCM ban was 13.2 per billion pop-                       We found largely similar results in the
from 1990 to 2017, 49 occurred in states                      ulation; for states with an LCM ban, it was                    multivariate analyses (1990–2017). States that
without an LCM ban in effect at the time and                  7.4 per billion population (Table 2). During                   did not ban LCMs were signiﬁcantly more
20 in states with a ban in effect at the time.                this period, non–LCM ban states had not                        likely to experience LCM-involved high-
The annual incidence rate for high-fatality                   only more incidents but also more deaths                       fatality mass shootings as well as more likely to
mass shootings in states without an LCM ban                   per incident (11.4 vs 9.4). In terms of high-                  experience any high-fatality mass shootings
was 11.7 per billion population; the annual                   fatality mass shooting deaths per billion                      (regardless of whether an LCM was involved).
incidence rate for high-fatality mass shootings               population, the annual number of deaths in                     States that did not ban LCMs also experienced
in states with an LCM ban was 5.1 per billion                 the non-LCM ban states was 150.6; in the                       signiﬁcantly more deaths from high-fatality
population. In that 28-year period, the rate of               LCM ban states it was 69.2 (Table 2).                          mass shootings, operationalized as the abso-
high-fatality mass shootings per capita was 2.3                  When we limited the analysis solely to                      lute number of fatalities (Table 3).
times higher in states without an LCM ban                     high-fatality mass shootings that deﬁnitely                        When the LCM bans were separated
(Table 2).                                                    involved LCMs, the differences between ban                     into federal and state bans, both remained
    Non–LCM ban states had not only more                      and nonban states became larger. For ex-                       signiﬁcantly related to the incidence of
incidents but also more deaths per incident                   ample, for the entire period of 1990 to 2017,                  LCM-involved high-fatality mass shooting
(10.9 vs 8.2). The average annual number of                   of the 44 high-fatality mass shootings that                    events and to the number of LCM-involved
high-fatality mass shooting deaths per billion                involved LCMs, the annual incidence rate for                   high-fatality mass shooting deaths. The as-
population in the non–LCM ban states was                      LCM-involved high-fatality mass shootings                      sociations between federal and state bans and


 TABLE 2—High-Fatality Mass Shootings (‡ 6 Victims Shot to Death) by Whether LCM Bans Were in Effect: United States, 1990–2017

                                                         Average Annual                Total        Annual Incidents per         Total        Annual Deaths per        Deaths per
                                                     Population, No. (Millions)   Incidents, No.   Billion Population, No.    Deaths, No.   Billion Population, No.   Incident, No.
All high-fatality mass shootings, 1990–2017 (28 y)
  Non–LCM ban states                                           149.7                   49                   11.7                  534               127.4                 10.9
  LCM ban states                                               140.7                   20                    5.1                  164                 41.6                 8.2
All high-fatality mass shootings, 2005–2017 (13 y)
  Non–LCM ban states                                           227.8                   39                   13.2                  446               150.6                 11.4
  LCM ban states                                                83.4                     8                   7.4                   75                 69.2                 9.4
LCM-involved high-fatality mass shootings,
 1990–2017 (28 y)
  Non–LCM ban states                                           149.7                   34                    8.1                  428               102.1                 12.6
  LCM ban states                                               140.7                   10                    2.5                   92                23.3                  9.2
LCM-involved high-fatality mass shootings,
 2005–2017 (13 y)
  Non–LCM ban states                                           227.8                   28                    9.5                  369               124.6                 13.2
  LCM ban states                                                83.4                     4                   3.7                   42                 38.7                10.5
Non-LCM high-fatality mass shootings,
 1990–2017 (28 y)
  Non–LCM ban states                                           149.7                     8                   1.9                   56                 13.4                 7.0
  LCM ban states                                               140.7                     8                   2.0                   60                 15.2                 7.5

Note. LCM = large-capacity magazine.



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 TABLE 3—Multivariate Results of the Relationship Between LCM Bans and High-Fatality Mass Shootings (‡ 6 Victims Shot to Death),
 1990–2017 Combined Federal and State Large Capacity Magazine Bans: United States

                                                    LCM-Involved High-Fatality Mass Shootings, b (95% CI)          All High-Fatality Mass Shootings, b (95% CI)
                                                          Incidentsa                    No. Deathsb                 Incidentsa                    No. Deathsb
All LCM bans (federal and state)                    –2.217 (–3.493, –0.940)        –5.912 (–9.261, –2.563)    –1.283 (–2.147, –0.420)        –3.660 (–5.695, –1.624)
Population density                                  –0.011 (–0.052, 0.031)          0.013 (–0.068, 0.095)      0.001 (–0.003, 0.006)          0.011 (–0.005, 0.026)
  % aged 19–24 y                                    –0.480 (–1.689, 0.730)         –2.496 (–5.893, 0.901)      0.283 (–0.599, 1.164)         –0.585 (–2.666, 1.495)
  % aged 25–34 y                                    –0.801 (–1.512, –0.089)        –2.390 (–4.391, –0.388)    –0.337 (–0.871, 0.197)         –1.114 (–2.463, 0.235)
  % Black                                           –0.227 (–1.062, 0.607)         –0.654 (–2.831, 1.522)     –0.163 (–0.703, 0.377)         –0.261 (–1.391, 0.870)
  % with a bachelor’s degree or higher              –0.009 (–0.492, 0.474)         –0.469 (–1.590, 0.652)      0.143 (–0.214, 0.501)          0.183 (–0.715, 1.081)
Percentage of households with a ﬁrearm (proxy)      –0.047 (–0.195, 0.101)         –0.147 (–0.546, 0.251)     –0.020 (–0.131, 0.091)         –0.084 (–0.368, 0.200)
Median household income                              0.000 (0.000, 0.000)           0.000 (0.000, 0.000)       0.000 (0.000, 0.000)           0.000 (0.000, 0.000)
Unemployment rate                                   –0.072 (–0.293, 0.149)         –0.476 (–1.081, 0.129)      0.041 (–0.135, 0.216)         –0.182 (–0.628, 0.263)
Imprisonment rate (per 100 000 population)          –0.006 (–0.012, 0.001)         –0.007 (–0.017, 0.004)     –0.001 (–0.006, 0.003)         –0.003 (–0.012, 0.007)
Total population                                     0.000 (0.000, 0.000)           0.000 (0.000, 0.000)       0.000 (0.000, 0.000)           0.000 (0.000, 0.000)
           2
Pseudo R                                                     0.31                           0.16                       0.26                           0.11

Note. CI = conﬁdence interval; LCM = large-capacity magazine. There were a total of 1428 observations in state-years (51 jurisdictions—all 50 states plus
Washington, DC—over a 28-year period). Mean variance inﬂation factor = 3.49.
a
 Logit regression.
b
  Negative binomial regression.



the overall incidence of all high-fatality mass      since 1990, perpetrators used LCMs. (For                available. In other words, the ﬁrst explanation
shootings as well as the total number of             23%, we determined that they did not involve            is that shooters perceive LCMs to be more
victims in these events remained strongly            LCMs, and a determination could not be made             effective at killing many people; the second
negative but was only sometimes statistically        for the remaining 13%.) Previous research has           explanation is that LCMs are indeed more
signiﬁcant (Table 4).                                shown that LCM ﬁrearms are used in a high               effective at killing many people.
   In terms of sensitivity analyses, using probit    share of mass murders (typically deﬁned as ‡ 4              High-fatality mass shootings are not
instead of logit gave us similar results (not        homicides) and murders of police.9                      common, even in the United States. Between
shown). When the outcome variable was the                We could not ﬁnd reliable estimates of LCM          1990 and 2017, there has been an average
number of high-fatality mass shooting deaths,        ﬁrearms in the US gun stock. However, it                of 2.5 incidents per year, with an average of
we obtained largely similar results concerning       is likely much lower than 64%, given that               25 people killed annually in such attacks.
the association between LCM bans and the             commonly owned ﬁrearms such as revolvers,               However, the number of incidents and the
outcome variables, regardless of whether we          bolt-action riﬂes, and shotguns are not typi-           number of people killed per incident have
used Poisson or negative binominal regression        cally designed to be LCM-capable. During                been increasing since the end of the federal
(not shown). Moreover, replacing the linear          the decade the federal assault weapons ban was          assault weapons ban.
yearly trend with a quadratic function did not       in effect, no ﬁrearms were legally manufactured             In our study, we found that bans on LCMs
change the major results of the analyses (not        with LCMs for sale in the United States. In the         were associated with both lower incidence of
shown). Variance inﬂation factors for all the        postban era, semiautomatic ﬁrearms, especially          high-fatality mass shootings and lower fatality
independent variables never exceeded 10.0,           pistols, are often sold with factory-issue LCMs,        tolls per incident. The difference in incidence
with the variance inﬂation factor for LCM            but ﬁrearms that are not semiautomatic are not          and overall number of fatalities between states,
ban variables always being less than 2.0, in-        sold with such magazines.                               with and without bans, was even greater for
dicating that there were no signiﬁcant mul-              Why do we ﬁnd LCMs so prominent                     LCM-involved high-fatality mass shootings.
ticollinearity issues (Tables 3 and 4).              among high-fatality mass shootings? We                      The multivariate results are largely con-
                                                     suspect there are 2 main reasons. The ﬁrst is           sistent with these bivariate associations. When
                                                     that perpetrators probably deliberately select          we controlled for 10 independent variables
                                                     LCMs because they facilitate the ability to ﬁre         often associated with overall crime rates, as
DISCUSSION                                           many rounds without having to stop to                   well as state and year effects, states with LCM
   In the United States, LCMs are dispro-            reload. The second reason is that the ability           bans had lower rates of high-fatality mass
portionately used in high-fatality mass              of shooters to kill many victims—especially             shootings and fewer high-fatality mass
shootings (incidents in which ‡ 6 victims are        the 6 victims required to be included in our            shooting deaths. When we investigated fed-
shot to death). In at least 64% of the incidents     data set—may be reduced if LCMs are not                 eral and state bans separately in the multiple


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 TABLE 4—Multivariate Results of the Relationship Between Large Caliber Magazine Bans and High-Fatality Mass Shootings (‡ 6 Victims Shot to
 Death), 1990–2017 Separate Federal and State Large Caliber Magazine Bans: United States

                                                       LCM-Involved High-Fatality Mass Shootings, b (95% CI)          All High-Fatality Mass Shootings, b (95% CI)
                                                             Incidentsa                    No. Deathsb                 Incidentsa                    No. Deathsb
Federal LCM ban                                        –1.434 (–2.622, –0.245)       –3.571 (–7.103, –0.038)      –0.895 (–1.806, 0.016)        –2.570 (–4.902, –0.238)
State LCM bans                                         –2.603 (–4.895, –0.311)       –8.048 (–15.172, –0.925)     –1.277 (–2.977, 0.422)        –3.082 (–7.227, 1.064)
Population density                                     –0.012 (–0.055, 0.030)        –0.001 (–0.085, 0.083)        0.001 (–0.003, 0.006)         0.009 (–0.007, 0.024)
  % aged 19–24 y                                       –0.311 (–1.499, 0.878)        –2.589 (–6.057, 0.879)        0.342 (–0.551, 1.236)        –0.531 (–2.759, 1.698)
  % aged 25–34 y                                       –0.812 (–1.532, –0.093)       –2.660 (–4.848, –0.471)      –0.323 (–0.864, 0.217)        –0.848 (–2.236, 0.539)
  % Black                                              –0.229 (–1.101, 0.643)        –0.770 (–3.232, 1.693)       –0.150 (–0.698, 0.398)        –0.154 (–1.321, 1.013)
  % with a bachelor’s degree or higher                 –0.031 (–0.447, 0.509)        –0.479 (–1.577, 0.618)        0.156 (–0.199, 0.511)         0.269 (–0.567, 1.106)
Percentage of households with a ﬁrearm (proxy)         –0.055 (–0.210, 0.101)        –0.227 (–0.651, 0.196)       –0.019 (–0.133, 0.094)        –0.107 (–0.399, 0.186)
Median household income                                 0.000 (0.000, 0.000)          0.000 (0.000, 0.000)         0.000 (0.000, 0.000)          0.000 (0.000, 0.000)
Unemployment rate                                      –0.061 (–0.284, 0.162)        –0.420 (–1.041, 0.201)        0.046 (–0.132, 0.224)        –0.157 (–0.619, 0.305)
Imprisonment rate (per 100 000 population)             –0.006 (–0.013, 0.000)        –0.012 (–0.026, 0.002)       –0.002 (–0.007, 0.003)        –0.003 (–0.014, 0.007)
Total population                                        0.000 (0.000, 0.000)          0.000 (0.000, 0.000)         0.000 (0.000, 0.000)          0.000 (0.000, 0.000)
Pseudo R 2                                                      0.30                          0.15                        0.26                           0.11

Note. CI = conﬁdence interval; LCM = large-capacity magazine. There were a total of 1428 observations in state-years (51 jurisdictions—all 50 states plus
Washington, DC—over a 28-year period). Mean variance inﬂation factor = 3.45.
a
 Logit regression.
b
  Negative binomial regression.

regressions, both were signiﬁcantly associated             count than those states with no such bans            also increases. Indeed, of the 13 high-fatality
with the incidence of LCM-involved high-                   in effect? Yes. In fact, the effect is more          mass shootings with 10 or more fatalities in
fatality mass shootings as well as the number of           pronounced for high-fatality mass shoot-             our data set, 12 (92%) involved an LCM.
victims in LCM-involved attacks. The re-                   ings involving LCMs than for those not                   Third, although many high-fatality mass
lationship between these bans, considered                  involving LCMs.                                      shootings tend to be highly publicized, in 13%
separately, and all high-fatality mass shooting         4. Do states with LCM bans experience                   of the incidents we reviewed, we could not
incidence and deaths is often not statistically            high-fatality mass shootings (regardless of          determine whether an LCM was used. As a
signiﬁcant, although this may be attributable to           whether they involve LCMs) at a lower                sensitivity analysis, we assessed the assump-
lack of statistical power (number of observa-              rate and a lower fatality count than states          tions that all of the unknown cases ﬁrst did,
tions) to ﬁnd a statistically signiﬁcant effect.           with no such bans in effect? Yes.                    and then did not, involve LCMs. Neither
    Our analysis provides answers to 4 im-                                                                      assumption appreciably changed our main
portant questions:                                                                                              results (not shown).
                                                                                                                    Fourth, as a general rule, clustering stan-
1. How often are LCMs used in high-fatality             Limitations                                             dard errors is most appropriate when there is
   mass shootings? At minimum, 64% of                       Our study had various limitations. First,           a large number of treated units. Although
   high-fatality mass shootings perpetrated             although we carefully searched for every                during the decade of the federal assault
   between 1990 and 2017 involved LCMs.                 high-fatality mass shooting, it is possible that        weapons bans all 50 states plus the District
2. Are more people killed when LCMs are                 we might have missed some. Nevertheless,                of Columbia regulated LCMs, during the
   used? Yes, and the difference in our data            we suspect that this is unlikely, because it            remaining time periods under examination,
   set is substantial and statistically signiﬁcant      would mean that others who compiled lists               only 8 jurisdictions regulated LCMs. As a
   (11.8 vs 7.3). We should add that our                have also missed the same ones, for we                  result, there is the possibility that the standard
   results likely underestimate the difference          checked our list against multiple sources.              errors were underestimated in our analyses.34
   because we have a truncated sample (we                   Second, our deﬁnition of a high-fatality                Fifth, there were only 69 events that
   only examined incidents with at least 6              mass shooting is a shooting that results in             met our criterion for a “high-fatality mass
   victim fatalities), compounded by the fact           6 or more fatal victims. A different threshold          shooting.” Although 69 is a horriﬁc number
   that the number of homicide incidents fell           criterion (e.g., 6 or more people shot; 5 or            of incidents, for statistical purposes, it is a
   as the number of victims increased.                  more victims killed), might lead to somewhat            relatively small number and limits the power
3. Do states with LCM bans experience                   different results. We expect that as the                to detect signiﬁcant associations. For example,
   high-fatality mass shootings involving               number of victims in a shooting increases, the          we did not have the statistical power (and thus
   LCMs at a lower rate and a lower fatality            likelihood that the perpetrator used an LCM             did not even try) to determine whether


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ACKNOWLEDGMENTS                                                                                                                   Nat Rev Neurosci. 2013;14(5):365–376.
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                                                                                                                                                                                                   Changes in US mass shooting deaths associated with
                                                                                                                                                                                                      the 1994–2004 federal assault weapons ban:
                                                                                                                                                                                                              Analysis of open-source data
                                                                                                                                                                                                             Charles DiMaggio, PhD, MPH, Jacob Avraham, MD, Cherisse Berry, MD,
                                                                                                                                                                                                            Marko Bukur, MD, Justin Feldman, ScD, Michael Klein, MD, Noor Shah, MD,
                                                                                                                                                                                                             Manish Tandon, MD, and Spiros Frangos, MD, MPH, New York, New York
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                                                                                                                                                                                                                                                                                PI, research support, Instrumentation Laboratory, Inc.; Co-founder, Thrombo Thera-
                                                                                                                                                                                   Objectives                                                                                   peutics. Associate Editors David Hoyt, Ronald V. Maier and Steven Shackford have
                                                                                                                                                                                   After reading the featured articles published in the Journal of Trauma and Acute
                                                                                                                                                                                                                                                                                nothing to disclose. Editorial staff and Angela Sauaia have nothing to disclose.
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                                                                                                                                                                                 77th Annual Meeting of AAST and the World Trauma Congress, Sep 26 - 29, 2018, San Diego, California.

                                                                                                                                                                                 DOI: 10.1097/TA.0000000000002060
                                                                                                                                                                                 J Trauma Acute Care Surg
                                                                                                                                                                                 Volume 86, Number 1                                                                                                                                                                        11


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     BACKGROUND:        A federal assault weapons ban has been proposed as a way to reduce mass shootings in the United States. The Federal Assault
                        Weapons Ban of 1994 made the manufacture and civilian use of a defined set of automatic and semiautomatic weapons and large
                        capacity magazines illegal. The ban expired in 2004. The period from 1994 to 2004 serves as a single-arm pre-post observational
                        study to assess the effectiveness of this policy intervention.
     METHODS:           Mass shooting data for 1981 to 2017 were obtained from three well-documented, referenced, and open-source sets of data, based on
                        media reports. We calculated the yearly rates of mass shooting fatalities as a proportion of total firearm homicide deaths and per US
                        population. We compared the 1994 to 2004 federal ban period to non-ban periods, using simple linear regression models for rates and a
                        Poison model for counts with a year variable to control for trend. The relative effects of the ban period were estimated with odds ratios.
     RESULTS:           Assault rifles accounted for 430 or 85.8% of the total 501 mass-shooting fatalities reported (95% confidence interval, 82.8–88.9) in
                        44 mass-shooting incidents. Mass shootings in the United States accounted for an increasing proportion of all firearm-related ho-
                        micides (coefficient for year, 0.7; p = 0.0003), with increment in year alone capturing over a third of the overall variance in the data
                        (adjusted R2 = 0.3). In a linear regression model controlling for yearly trend, the federal ban period was associated with a statisti-
                        cally significant 9 fewer mass shooting related deaths per 10,000 firearm homicides (p = 0.03). Mass-shooting fatalities were 70%
                        less likely to occur during the federal ban period (relative rate, 0.30; 95% confidence interval, 0.22–0.39).
     CONCLUSION:        Mass-shooting related homicides in the United States were reduced during the years of the federal assault weapons ban of 1994 to
                        2004. (J Trauma Acute Care Surg. 2019;86: 11–19. Copyright © 2018 American Association for the Surgery of Trauma.)
     LEVEL OF EVIDENCE: Observational, level II/IV.
     KEY WORDS:         Firearms; mass-shootings; assault weapons; epidemiology.




I ncreases in firearm-related injuries, particularly mass-shooting
  related fatalities, in the United States have contributed to a po-
larizing and sometimes contentious debate over gun ownership
                                                                                             In a study soon following the implementation of the 1994
                                                                                      ban, researchers reported a 55% decrease in the recovery of as-
                                                                                      sault weapons by the Baltimore City Police in the first 6 months
and limiting weapons characterized as assault weapons.1,2 De-                         of 1995, indicating a statistically significant 29 fewer such fire-
spite the increasing sense that there is an epidemic of indiscrim-                    arms in the population.11 In a 2009 study based on ICD9 exter-
inate firearm violence in our schools and public spaces, there is a                   nal cause of injury codes for patients younger than 18 years in the
paucity of public health evidence on the topic. Among a number                        United States, 11 states with assault and large-capacity magazine
of recommendations, a federal Assault Weapons Ban (AWB) has                           bans, as well as other firearm laws, were compared with 33 states
been proposed as a way to prevent and control mass shootings in                       without such restrictions. The incidence of firearm injuries per
the United States. In this article, we assess evidence for the effec-                 1,000 total traumatic injuries was significantly lower in states
tiveness of such a ban in preventing or controlling mass-shooting                     with restrictive laws, 2.2 compared with 5.9.12 In contrast, a
homicides in the United States.                                                       comprehensive 2001 evaluation of the AWB itself concluded
       While mass shootings occur in other industrialized nations,                    that there was “no evidence of reductions in multiple-victim
the United States is particularly prone to these crimes. In a recent                  gun homicides or multiple-gunshot wound victimizations”. The
30-year period, the United States had double the number of mass-                      authors cautioned their results should be “interpreted cautiously”
shooting incidents than the next 24 industrialized nations com-                       because of the short period since the ban's inception, and that
bined.3 Any public perception of recent increases in the number                       future assessments were warranted.13 More recent studies, while
of these events is borne out by analysis of available data.4 By one                   not primarily addressing the US Federal AWB have found re-
measure, there have been more deaths due to mass shootings in                         sults generally consistent with its effectiveness in preventing
the United States in the past 18 years than in the entire 20th cen-                   mass-shooting fatalities.14,15
tury.5 While there is some debate about the role of mental illness                           We believe sufficient time has passed and enough data
in mass shootings,6–8 many high-profile recent mass shootings                         have accumulated to treat the period from 1994 to 2004 as a nat-
(Aurora, CO; Roseburg, OR; San Bernadino, CA; Newtown,                                uralistic pre-post observational comparison period for the asso-
CT; Orlando; Las Vegas; Sutherland Springs, TX) have been                             ciation of the AWB with changes in mass-shootings in the United
characterized by the use of semiautomatic assault rifles,9 leading                    States. Because there is no authoritative source or registry, or
some to advocate for restrictions on the manufacture and sale of                      even a widely agreed upon definition for these incidents, we ob-
these weapons.                                                                        tained data from three open source references and restricted our
       While survey results indicate that researchers in criminol-                    analyses to only those incidents confirmed by all three sources.
ogy, law and public health rank an assault weapons ban as one of                      We assess evidence for the potential effectiveness of such a ban
the most effective measures to prevent mass shootings, and that                       in preventing and controlling mass-shooting homicides in the
67% of the US general population support such a ban,10 the                            United States. We hypothesized that the implementation of the
existing evidence on banning assault weapons is scant and                             Federal AWB contributed to a reduction in mass shooting deaths
sometimes contradictory. Most evidence is related to the Federal                      as measured by the number and rate of mass shooting fatalities
AWB of 1994, which made illegal the manufacture and use by                            before, during, and after the federal AWB.
civilians of a defined set of automatic and semiautomatic
weapons and large capacity magazines. Formally known as                                                              METHODS
“The Public Safety and Recreational Firearms Use Protection
Act”, the AWB was part of the broader “Violent Crime Control                               Mass incident shooting data were obtained from three in-
and Law Enforcement Act of 1994. The ban lasted 10 years,                             dependent, well-documented and referenced online sources:
expiring in 2004 when the US Congress declined to renew it.                           Mother Jones Magazine, the Los Angeles Times and Stanford

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University.16–18 These sources have each been the basis for a             for trend with yearly rates based on (1) CDC WISQARS homi-
number of previous studies.19–26 Data from the three online               cide data ending in 2016, (2) extrapolated CDC WISQARS ho-
open-source references were combined. Analyses were restricted            micide data for 2017, and (3) population denominator-based
to incidents reported by all three sources. Entries were further re-      rates. We tested the robustness of our underlying modeling as-
stricted to those for which four or more fatalities (not including        sumptions with an alternate mixed-effects generalized linear model
the shooter) were reported, which meets the strictest definition          of yearly mass shooting fatality counts with an observation-level
of mass shootings as defined by the Federal Bureau of Investi-            random effect to account for overdispersion.
gation.27,28 Yearly homicide data were obtained from the US                      The study was determined to be exempt as nonidentifiable
Centers for Disease Control and Prevention Web-based Injury               data. The study data and analytic code are available for down-
Statistics Query and Reporting System (WISQARS) an online                 load at http://www.injuryepi.org/styled-2/.
database of fatal and nonfatal injury.29 Because 2017 data were
not yet available in the WISQARS system, data for firearm-
related homicide data for that year were obtained from a separate                                      RESULTS
online source.30                                                                  The three data sources listed incidents ranging in number
        A variable was created to indicate the 1994 to 2004 period        from 51 (LA Times) to 335 (Stanford) and in dates from 1966
as the federal ban period. We attempted to identify incidents in-         (Stanford) to 2018 (LA Times). There were a total of 51 reported
volving assault weapons. An assault weapon has been defined               cases of mass shootings between 1981 and 2017 confirmed by all
as semiautomatic rifle that incorporates military-style features          three sources. Forty-four of these incidents met the strictest criteria
such as pistol grips, folding stocks, and high-capacity detachable        for mass shootings (4 or more killed), totaling 501 all-weapon
magazines.31 In this study, assault weapons were identified               fatalities. In total 1,460 persons were injured or killed over
using the text search terms “AK,” “AR,” “MCX,” “assault,” “as-            the 37-year period, for a total case-fatality ratio of 34.3%
sault,” or “semiautomatic” in a text field for weapon details.            (95% CI, 31.9–36.8). The overall rate of mass shooting fatalities
These terms were based on descriptions of the federal assault             per 10,000 firearm-related homicides was 10.2 (95% CI,
ban legislative language.32 The total number of mass shooting             9.4–11.2). There was an increase in the all-weapon yearly
fatalities and injuries were aggregated by year and merged with           number of mass-shooting fatalities in the United States during
the yearly firearm homicide data.                                         the study period, (Fig. 1) and evidence of a decrease in case fatal-
        The rate of mass shooting fatalities per 10,000 firearm ho-       ity in the post-2010 period (Fig. 2). Incidents in which weapons
micide deaths was calculated. For the years covered by the data           were characterized as assault rifles accounted for 430 or 85.8%
sources, we calculated (1) the total and yearly number of mass-           of mass-shooting fatalities (95% CI, 82.8–88.9). Weapons char-
shooting incidents that met the strictest criteria and were con-          acterized as assault rifles accounted for all mass-shooting fatal-
firmed by all three sources, (2) the number of all weapon (assault        ities in 15 (62.5%) of the 24 (95% CI, 42.6–78.9) years for which
and nonassault weapons) mass-shooting fatalities, and (3) the             a mass-shooting incident was reported, accounting for a total of
case-fatality ratio of all-weapon mass-shooting fatalities per 100        230 fatalities in those years.
total mass-shooting fatalities and injuries. The yearly case-fatality             Between 1981 and 2017, mass shootings in the United States
ratio was plotted with overlying Loess line for trend and standard        accounted for an increasing proportion of all firearm-related ho-
error limits. We also plotted the yearly rate of mass shooting fa-        micides, with increment in year accounting for nearly 32% of
talities per 10,000 firearm-related homicides with an overlying           the overall variance in the data. During the years in which the
simple linear model with year as the predictor for (1) the total          AWB was in effect, this slope decreased, with an increase in the
period, and (2) for preban, ban, and postban periods.                     slope of yearly mass-shooting homicides in the postban period
        We evaluated assumptions of normality and linearity of
the data using graphical methods such as density plots and Q-Q
normal plots as well as summary statistics. We tested the hypoth-
esis that the federal ban period was associated with a decrease in
the number and rate of mass-shooting fatalities in the United
States with a multiple linear regression model, with total homi-
cide-based mass-shooting fatality rate as the outcome variable, a
dichotomous indicator variable for the federal ban period as the
predictor variable, and year as a control variable for trend over
time. We calculated the relative risk of mass shooting fatalities
during the federal ban period compared to nonban periods by
using the “epitab” function of the R “epitools” package. This es-
timate is based on the ratio of the fatality rate during the ban pe-
riod divided by the fatality rate during the nonban period. All
results are presented with two-sided p values with a significance
level of 0.05 and/or 95% confidence intervals (CI). We conducted
subgroup analysis with data restricted to incidents in which an
assault-type weapon was explicitly noted.
        We conducted analyses to test the sensitivity of our results
to the choice of denominator with linear regression models controlling    Figure 1. Mass shooting deaths. United States 1981–2017.

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Figure 2. Case fatality per 100 total mass-shooting injuries with
loess smoothing line for trend and standard error bounds.
United States 1981–2017.

(Fig. 3). A similar pattern was evident in data restricted to those
                                                                        Figure 4. Mass-shooting shooting deaths per 10,000
incidents characterized as involving assault weapons (Fig. 4).
                                                                        firearm-related homicides restricted to incidents involving assault
       In a linear regression model controlling for yearly trend,       weapons with linear trends for preban, ban, and postban periods.
the federal ban period was associated with a statistically signifi-     United States 1981–2017.
cant 9 fewer mass shooting–related deaths per 10,000 firearm
homicides per year (Table 1). The model indicated that year             restricted to just those incidents characterized by the use of an
and federal ban period alone accounted for nearly 40% of all            assault weapon indicated that seven preventable deaths during
the variation in the data (adjusted R2 = 0.37). A subanalysis           the ban period were due to assault weapons alone (Table 2).
                                                                               The risk of mass shooting fatalities during the federal van
                                                                        period was 53 per 140,515 total firearm homicides compared
                                                                        with 448 per 348,528 during the nonban periods, for a risk ratio
                                                                        of 0.30 (95% CI, 0.22–0.39). The calculated risk ratio for the
                                                                        association of the federal ban period with mass-shooting fatali-
                                                                        ties as a proportion of all firearm-related homicides was 0.29
                                                                        (95% CI, 0.22–0.29), indicating that mass shooting fatalities
                                                                        were 70% less likely to occur during the federal ban period.
                                                                               The results of our sensitivity analyses were consistent with
                                                                        our main analyses for total mass shooting fatalities. In a linear
                                                                        regression analysis controlling for yearly trend and restricted to
                                                                        the period ending in 2016 using just CDC WISQARS homicide
                                                                        data as the denominator, the effect of ban period was associated
                                                                        with a statistically significant eight fewer mass shooting related
                                                                        deaths per 10,000 firearm homicides per year (coefficient for
                                                                        ban period, 8.0; p = 0.05). In a similar model using extrapolated
                                                                        CDC WISQARS homicide data for 2017 instead of Online Gun
                                                                        Violence Archive data as the denominator, the effect of ban


                                                                        TABLE 1. Linear Regression Effect of 1994–2004 Federal Assault
                                                                        Weapon Ban on Mass-Shooting Deaths per 10,000 Firearm
                                                                        Homicides, United States, 1981–2017
                                                                        Variable          Estimate        Std. Error          t            p
                                                                        (Intercept)        −1409.4          333.0           −4.2        0.0002
Figure 3. Mass shooting deaths per 10,000 firearm-related               Year                   0.7            0.2            4.3        0.0001
homicides with linear trends for preban, ban, and postban
                                                                        Ban Period            −8.6            3.9           −2.2        0.03
periods. United States 1981–2017.

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                                                                          it must be interpreted in the context of the overall number of
TABLE 2. Linear Regression Effect of 1994–2004 Federal Assault
                                                                          such fatalities, which ranges from none to 60 in any given year
Weapon Ban on Mass-Shooting Deaths Characterized by Use of
Assault Weapon per 10,000 Firearm Homicides, United                       in our data. However, if our linear regression estimate of 9 fewer
States, 1981–2017                                                         mass shooting–related deaths per 10,000 homicides is correct,
                                                                          an assault weapons ban would have prevented 314 of the 448
Variable         Estimate        Std. Error         t            p
                                                                          or 70% of the mass shooting deaths during the nonban periods
(Intercept)      −1219.7           333.9          −3.7         0.0009     under study. Notably, this estimate is roughly consistent with
Year                 0.6             0.2           3.7         0.0008     our odds ratio estimate and Poisson model results.
Ban                 −6.7             3.9          −1.7         0.09              Our results add to the documentation that mass shooting–
                                                                          related homicides are indeed increasing, most rapidly in the
                                                                          postban period, and that these incidents are frequently associated
period was associated with a statistically significant 9 fewer            with weapons characterized as assault rifles by the language of
mass shooting related deaths per 10,000 firearm homicides per             the 1994 AWB. We did not find an increase in the case fatality
year (coefficient for ban period, 8.6; p = 0.03). A model based           ratio of mass-shooting deaths to mass-shooting injuries. This
on the total yearly US population as the denominator, the effect          might at first seem counterintuitive and paradoxical. The destruc-
of ban period was associated with a statistically significant 0.4         tive effect of these weapons is unequivocal. They are engineered
fewer mass shooting related deaths per 10,000,000 population              to cause maximum tissue damage rapidly to the greatest number
(coefficient for ban period, 0.4; p = 0.02).                              of targets. However, it may be that the use of these kinds of
       The results of a mixed-effects generalized linear Poisson          weapons results in indiscriminate injury with additional rounds
model of yearly mass shooting fatality counts with an observa-            more likely to injure more people increasing the denominator
tion-level random effect to account for overdispersion were very          in a case-fatality ratio. By contrast, the use of nonassault weapons
similar whether the offset variable was the number of total fire-         may result in more precise targeting of victims. It is also possible
arm deaths or the population size. In either case, the assault            that improvements in trauma care are driving down case fatal-
weapons ban period was associated with an approximately                   ity.37 Also, it is worth noting that in absolute terms, there were
85% reduction in mass shooting fatalities (Table 3).                      many more fatalities outside the ban period and that survivable
                                                                          injury comes with its own physical, emotional, and economic
                            DISCUSSION                                    costs, which have been estimated at US $32,237 per hospital
                                                                          admission.38
       Recently, 75% of members of the American College of                       Despite US federal funding restrictions on firearm-related
Surgeons Committee on Trauma endorsed restrictions to “civilian           research dating to 1996,39,40 there is a small but growing number
access to assault rifles (magazine fed, semiautomatic, i.e.,              of analyses of mass shooting violence in the United States.
AR-15),”33 and 76% of the Board of Governors were in favor                Many articles have focused on the mental health aspects of these
of a limit to “… civilian access to ammunition designed for mil-          incidents,41–43 or on social effects like increased firearm acqui-
itary or law enforcement use (that is, armor piercing, large mag-         sition following mass shootings.44,45 However, fewer studies
azine capacity).”34 In 2015, the American College of Surgeons             have taken a strictly public health or clinical approach. Among
joined seven of the largest most prestigious professional health          these, an autopsy-based study of the incidence and severity of
organizations in the United States and the American Bar Asso-             mass-shooting casualties concluded the wound patterns differed
ciation to call for “restricting the manufacture and sale of              sufficiently from combat injuries to require new management
military-style assault weapons and large-capacity magazines               strategies, indicating there is much to be learned from a system-
for civilian use.”35 This analysis adds evidence to support these         atic epidemiological perspective.46 Recently, there have been
recommendations.                                                          calls to remove such funding restrictions from both academics
       No observational epidemiologic study can answer the ques-          and elected officials from across the political spectrum.47,48
tion whether the 1994 US federal assault ban was causally related                Our choice of data and analytic approach may reasonably
to preventing mass-shooting homicides. However, this study adds           be debated. We chose to base our analyses on the yearly rate of
to the evidence by narrowly focusing our question on the potential        mass shooting fatalities per 10,000 overall firearm homicides.
effect of a national assault weapon ban on mass shootings as mea-         This is not a population-based risk estimate, but is in fact a risk
sured through the lens of case fatality. While the data are amena-        as commonly used in the epidemiologic literature which is es-
ble to a number of additional analyses, such as stratification by         sentially a probability statement, that is, the number of events
location (e.g. school vs. nonschool) or by characterization of
large-capacity magazines versus non large-capacity magazine,
we chose to focus only on year of occurrence and total number             TABLE 3. Exponentiated Coefficients Generalized Linear
of fatalities. In this way, we relied on the least subjective aspects     Poisson Model
of the published reports. We believe our results support the con-                                 Homicide Offset                        Population Offset
clusion that the ban period was associated with fewer overall             Variable           Estimate            95% CI              Estimate             95% CI
mass-shooting homicides. These results are also consistent with           Year                  0.6                0.2                  3.7               0.0008
a similar study of the effect of a 1996 ban on assault type weapons       Ban                  −6.7                3.9                 −1.7               0.09
in Australia after which mass-shooting fatalities dropped to zero.36
       While the absolute effects of our regression analyses ap-               Effect of 1994–2004 federal assault weapon ban on mass-shooting death counts. United
                                                                          States, 1981–20017.
pears modest (7 to 9 fewer deaths per 10,000 firearm-homicides),

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that occurred over the number of times that event could occur. It                An assault weapon ban is not a panacea, nor do our anal-
is the risk of a homicide occurring as a result of a mass shooting.      yses indicate that an assault weapon ban will result in fewer
It may be considered a strong assumption to build mass shooting          overall firearm-related homicides. It is important to recognize
death rates based on the overall firearm homicide rate. The de-          that suicides make up the majority of firearm-related deaths in
mographics of most homicide victims may differ appreciably               the United States, accounting for 60.7% of 36,252 deaths from
from those of mass shooting victims. We selected this approach           firearms in 2015.51 However, while this is a critically important
from among a number of imperfect potential denominators, be-             issue in its own right, suicides differ fundamentally from mass-
lieving that basing the rates on the number of firearm-homicides         shootings, and are unlikely to be affected by an assault weapons
partly controls for secular trends in overall homicides and fire-        ban. Also, compared with the 501 mass-shooting fatalities we
arm availability. Our sensitivity analyses indicate that our results     counted, there were 489,043 firearm-related homicides in the
were robust to most any choice of denominator. We chose linear           United States. Public health efforts should be directed at reduc-
regression as our primary model because it was straightforward,          ing all gun violence and must be multipronged, including
accessible to most readers, accounted for linear trends in the           targeted initiatives to address mental illness and reducing access
data, and returned results in the metric in which we were most           to weapons in those with a propensity for violence. However,
interested, that is, changes in the rate of fatalities. Our compara-     taken in the context of the increase in mass shootings in the
tive Poisson model results were essentially consistent with the          United States, these results support the conclusion that the fed-
primary model.                                                           eral AWB of 1994 to 2004 was effective in reducing mass shoot-
        These analyses are subject to a number of additional lim-        ing–related homicides in the United States, and we believe our
itations and caveats, primary among which is that there is no au-        results support a re-institution of the 1994 federal assault
thoritative source of data on mass shooting, and any one source          weapons ban as a way to prevent and control mass shooting fa-
may be biased and incomplete. It was for this reason that we             talities in the United States.
chose to combine three independent sources of data, each with
its own strengths and weaknesses, and base our analyses only             DISCLOSURE
on those numbers that were verified by all three sources. We fur-        The authors have no conflicts of interest to declare.
ther restricted our analyses to only the number of fatalities and        There are no federal or nonfederal funding sources associated with this study.
the year in which the incident occurred, and to the strictest defi-
nition of mass shootings as defined by the Federal Bureau of In-
vestigation.27,28 Even with this approach, the data remain
imprecise and subject to differing definitions. We attempted to
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    the American College of Surgeons Board of governors on firearm injury            AAST has had a long-term interest in reducing gun violence in
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    American Bar Association. Ann Intern Med. 2015;162(7):513–516.                   the use of an assault rifle. Since we seem to be unable to identify

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the active shooter preemptively, we are left with the alternative                In sum, this study adds to overwhelming evidence that as-
solution of eliminating the weapon.                                       sault rifles are an essential component in the dramatic escalation
       The presentation today provides evidence that a federal as-        of mass shootings in the United States. While the scientific data
sault weapon ban can reduce mass shootings. According to our              to support a federal ban on civilian assault rifles is imperfect due
recent national trauma surgeon surveys, three-fourths of us in            to inadequate research support, I submit collectively the existing
the audience, including me, would like to believe the analysis;           information argues strongly for enactment of this measure, and
but I think we need to consider some of the potential limitations.        compliment the authors for their timely contribution.
       Many of these issues relate to the fact that research support             Sheldon H. Teperman, MD (Bronx, New York): Dr.
for gun violence control in the United States remains frustrat-           DiMaggio, your home institution, Bellevue, plays a seminal role
ingly suppressed and fundamentally inadequate. The general                in the trauma center safety of our nation.
lack of information, low quality of data, and need to merge data                 In fact, right now, your trauma medical director is not
sets from diverse sources – medical, coroner, police, legal, and          present with us, but he is at home on guard for the U.N. General
behavioral – compounded by scarce funding and public contro-              Assembly. But in New York, we don't see long-gun injuries. New
versy, undermine research to inform policy and enlighten the              York has the Safe Act, and there is an assault weapons ban. So
public. The fact that you had to compare three open-access data-          why is it so important to America's trauma center – Bellevue –
bases to be certain that the reported mass shootings occurred un-         that we see a national ban on assault rifles?
derscores this deficiency.                                                       Charles E. Lucas, MD (Detroit, Michigan): Thank you
       Furthermore, there is no definition of a mass shooting, al-        for your nice presentation. How many of these incidents oc-
though you employed perhaps the most acceptable at the mo-                curred in an inner-city environment, where most of the victims
ment – the FBI's definition. Could you explain for us the                 that we treat have received multiple wounds which were pur-
rationale for this definition?                                            posely inflicted in order to compete competitively for the distribu-
       You present an analysis of 44 events with four or more             tion of heroin and other drugs? Also, how many of the assailants
deaths, including the shooter, from 1981 to 2017 – a 36-year period;      were African-American?
whereas, others suggest a much higher incidence, such as Klaveras,               Martin A. Croce, MD (Memphis, Tennessee): Thank you.
who reported 69 shootings of six or more over the past 27 years.          I want to commend the authors for an excellent study, and really,
       Identifying all known mass shootings per year during a             not so much to ask any questions but I rise to put out a plea to the
study period would be useful to appreciate the overall trends,            membership that this issue is a public health problem.
as your data somewhat understates the magnitude of mass shoot-                   This is not a right versus left problem, this is not a Second
ings in the United States.                                                Amendment problem. This is a public health problem.
       You employed the Gun Violence Archive to estimate ho-                     And to quote Wayne Meredith at one of the recent Board
micides in 2017. Why did you not use this source for mass                 meetings, "Our primary goal is to reduce the number of bullet
shootings? The Archive has reported an alarming 261 mass                  holes in people.” So I implore the Membership to correct this
shootings – defined as six or more shot – thus far in 2018. None-         dearth of research that is going on about gun violence in order
theless, in the sample you studied, assault rifles accounted for          to promote a public health approach, so that we can reduce the
greater than 85 percent of the fatalities, and this is the key issue.     number of bullet holes in people.
       You have evaluated the impact of the federal assault rifle                Deborah A. Kuhls, MD (Las Vegas, Nevada): And to carry
ban by analyzing the rate of mass shootings per 10,000 firearm            on that thought, I would urge the authors to incorporate the pub-
homicide deaths per year to adjust for confounders. This would            lic health data from the CDC when it is available, because part of
assume that the factors influencing mass shootings are the same           the methodological issues for this paper is that one data set was
as those for homicides, which seems very unlikely. You have               used for a certain period of time.
idicated that you analyzed mass-shooting fatalities per population               But for the last year, the CDC data was not used because it
per year; perhaps you could elaborate more about this analysis.           was not available, so I would urge you to not only do that anal-
       Another confounder as acknowledged in the presentation             ysis, but I would also urge the Journal of Trauma to consider an
is the impact of individual state limitations on magazine capac-          update to that article when that is available. Thank you.
ity. The first state to enforce these limitations was New Jersey in              Charles DiMaggio, MPH, PhD (New York, New York):
1990, and now at least eight states and Washington, D.C., have            Thank you very much for all these comments and questions.
these restrictions in effect. How can we distinguish the effects                 Dr. Moore, so with regard to your observation about the
of this policy? And could this be a potential bridge to ultimately        reductionist approach to looking at this particular issue, that puts
reestablish a national assault rifle ban?                                 me in the mind very much of the traditional epidemiologic triad
       You have also calculated the case fatality of all weapons in       of agent, host, and environment, and if you break one link in that
mass shootings per 100 total shootings, finding a decrease since          connection, you can break the transmission. In this case, we could
2010. While you conjecture this may be due to indiscriminate in-          call assault weapons one link, whether it's agent or host, we
jury from assault rifles or possibly attributed to better trauma          can decide.
care, I am uncertain how this is relevant to the issue of banning                With regards to the rationale for the definition, I think it's
assault rifles. The Las Vegas shooting is a cogent example of             reflective of the lack of research in this area.
how these data may be misleading.                                                A case definition is an essential and critical first step in
       Finally, there is the issue of so-called falsification that        any epidemiologic investigation, and you can see that we are
could be addressed by examining other causes of trauma mortal-            barely there. I think the FBI definition makes sense, I think it's
ity during this time period.                                              the oldest one, I think it's informed by expert consensus.

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       And I think all the other definitions are based in some            results are robust and invariant to the choice of denominator in
form on that, which is why we chose it. And I would urge that if          this case.
we are going to be doing this research going forward, probably it                Can we distinguish local effects, and could this possibly
would be best if we all had the consensus that that be the definition.    be a bridge to reestablishing an assault rifle ban? The short an-
       Why did we not use the Gun Violence Archive to estimate            swer is yes and yes. We can distinguish local effects.
some of these results, and why are our numbers so much smaller                   We took a very broad approach on this particular study as
than some of the other numbers? I have to agree, our numbers              a first pass on the data. But, there are data sources (and even
are very much an under-count.                                             within the data sources we used) where you can tease out local,
       We restricted our analysis to these three databases. And so        municipal and state policies.
the limiting factor was the one database. And I can tell you it was              Also, we can link our data to other sources that have those
the LA Times – they had the fewest number. And if it wasn't in the        variables. There are statistical methods available that will not
LATimes, then the other databases didn't contribute to this data set.     only account for those variables, but also allow us to measure
       We felt that the important aspect of this particular study         or estimate in some way the contribution of local or regional var-
was to demonstrate the relative effects, merits or associations           iation in these policies to the overall effectiveness.
with the assault weapon ban as opposed to documenting the ab-                    The issue of the case fatality rate is very interesting and
solute numbers.                                                           challenging. I want to note that there was a paper in JAMA on
       So the Gun Archive, for example, defines mass shootings            September 11th – just a couple of weeks ago – looking at mass
as four or more deaths or injuries. That really raises the number         shooter fatalities, that came essentially to the same conclusion –
of deaths that can be included. We didn't include it, but I think         that there has been this recent decrease.
going forward we absolutely should.                                              In our paper, in this write-up, we look at three potential ex-
       With regard to the analysis using population denomina-             planations, and one of them is, first of all, it's just a matter of de-
tors, we agree, actually, that gun homicides are an imperfect             nominator. These are indiscriminate weapons.
denominator. We also felt that population was an imperfect                       You have someone shooting at a large group of people,
denominator. And again, as we keep on circling around, it has             and there are going to be more injuries and more casualties,
to do with the data in this case.                                         and it just inflates the denominator in this case.
       We did feel that gun homicides captured something about gun               The second thing is, the obverse of that, is single-fire
availability and criminality in the United States, although homicides     weapons, guns, are very personal weapons. They're usually char-
themselves differ very much from these mass shooting fatalities.          acterized by someone who knows who they want to kill. And fi-
       We do note that our population-based results essentially           nally, we feel that perhaps there may be some improvement by
mirrored the gun homicide results, indicating that, at least for          the folks in this room in treating these.
the relative effects and benefits of the assault weapons ban, the                I'm going to close at this point, given the time constraints.




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     Original Paper

     Impact of Firearm Surveillance on Gun Control Policy: Regression
     Discontinuity Analysis

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     Abstract
     Background: Public mass shootings are a significant public health problem that require ongoing systematic surveillance to test
     and inform policies that combat gun injuries. Although there is widespread agreement that something needs to be done to stop
     public mass shootings, opinions on exactly which policies that entails vary, such as the prohibition of assault weapons and
     large-capacity magazines.
     Objective: The aim of this study was to determine if the Federal Assault Weapons Ban (FAWB) (1994-2004) reduced the
     number of public mass shootings while it was in place.
     Methods: We extracted public mass shooting surveillance data from the Violence Project that matched our inclusion criteria
     of 4 or more fatalities in a public space during a single event. We performed regression discontinuity analysis, taking advantage
     of the imposition of the FAWB, which included a prohibition on large-capacity magazines in addition to assault weapons. We
     estimated a regression model of the 5-year moving average number of public mass shootings per year for the period of 1966 to
     2019 controlling for population growth and homicides in general, introduced regression discontinuities in the intercept and a time
     trend for years coincident with the federal legislation (ie, 1994-2004), and also allowed for a differential effect of the homicide
     rate during this period. We introduced a second set of trend and intercept discontinuities for post-FAWB years to capture the
     effects of termination of the policy. We used the regression results to predict what would have happened from 1995 to 2019 had
     there been no FAWB and also to project what would have happened from 2005 onward had it remained in place.
     Results: The FAWB resulted in a significant decrease in public mass shootings, number of gun deaths, and number of gun
     injuries. We estimate that the FAWB prevented 11 public mass shootings during the decade the ban was in place. A continuation
     of the FAWB would have prevented 30 public mass shootings that killed 339 people and injured an additional 1139 people.
     Conclusions: This study demonstrates the utility of public health surveillance on gun violence. Surveillance informs policy on
     whether a ban on assault weapons and large-capacity magazines reduces public mass shootings. As society searches for effective
     policies to prevent the next mass shooting, we must consider the overwhelming evidence that bans on assault weapons and/or
     large-capacity magazines work.

     (JMIR Public Health Surveill 2021;7(4):e26042) doi: 10.2196/26042




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     KEYWORDS
     firearm surveillance; assault weapons ban; large-capacity magazines; guns control policy; mass shootings; regression lines of
     discontinuity

                                                                           weapons and ammunition formats that are designed to enable
     Introduction                                                          rapid discharge, which is a key feature in mass shooting
     Background                                                            incidents [24,47]. Other types of gun deaths may not be
                                                                           responsive to the FAWB or LCM bans. As an example, Extreme
     Approximately 44,000 people are killed and an additional              Risk Protection Orders or “Red Flag” orders [43,48], which
     100,000 people are injured by a gun each year in the United           temporarily prohibit at-risk individuals from owning or
     States [1,2]. Mass shooting fatalities, as a particular type of gun   purchasing firearms, may be effective for preventing firearm
     injury event, account for <1% of all gun deaths [3] and have          suicides or domestic violence homicides [49] but less effective
     largely been ignored until recently [4,5]; yet, mass shooting         for public mass shooters [50,51]. The prohibition of LCMs may
     events occur multiple times per year [6]. This information is         have no impact on firearm suicide because suicide decedents
     based on insights from firearm surveillance performed by a            only require one bullet to kill themselves [52].
     variety of researchers, and state and federal agencies on
     incidence, prevalence, risk factors, injuries, deaths, and            Several studies during and after the FAWB attempted to
     precipitating events, similar to the surveillance of infectious       determine if gun policy that restricts the production and sale of
     diseases such as COVID-19 [7-21]. Teutch and Thacker [22]             assault weapons and LCMs decreased gun deaths [53,54]. These
     defined public health surveillance as                                 initial studies make meaningful contributions to the literature
                                                                           because they describe what constitutes assault weapons,
          the ongoing systematic collection, analysis, and                 magazine capacity, ballistics, and loopholes in the FAWB
          interpretation of health data, essential to the planning,        legislation [3,53-57]. However, these studies have found little
          implementation, and evaluation of public health                  to no evidence that these policies have had any overall effect
          practice, closely integrated to the dissemination of             on firearm homicides, gun lethality, or overall crime [58-61].
          these data to those who need to know and linked to               Since deaths from public mass shootings comprise less than 1%
          prevention and control.                                          of all homicides based on our definition, testing whether or not
     Not only do surveillance systems generate hypotheses to test          the FAWB/LCM ban has an impact on homicide would wash
     but they also provide the data to test them.                          out the effect. Since the FAWB/LCM ban may be effective at
                                                                           specific types of gun deaths, sampling must be limited to specific
     The Federal Assault Weapons Ban (FAWB, also known as the
                                                                           types of shooters over overall gun deaths or tests for lethality
     Public Safety and Recreational Firearms Use Protection Act)
                                                                           [62,63]. Finally, the variation in research findings is related to
     included a ban on the manufacture for civilian use or sale of
                                                                           differences in research design, sampling frame, and case
     certain semiautomatic firearms defined as assault weapons as
                                                                           definition of a public mass shooting [3,53-56,64,65].
     well as certain large-capacity magazines (LCMs). The Act was
     in effect for 10 years from 1994 until it sunsetted in 2004.          Our study differs from other studies that evaluated the efficacy
     Semiautomatic weapons (rapid fire) and assault weapons (second        of the FAWB because we used economic methods and a
     grip plus other features) are distinct; however, the two are often    different outcome variable. Specifically, we focused on whether
     incorrectly conflated as similar [23-26]. Semiautomatic weapons       the FAWB resulted in fewer public mass shooting “events,”
     are defined as weapons that automatically load another cartridge      whereas other studies evaluated the number of gun injuries and
     into a chamber, preparing the weapon for firing, but requiring        deaths that occurred during the course of a mass shooting.
     the shooter to manually release and press the trigger for each
     round [23-26]. By contrast, automatic weapons are similarly           Objective
     self-loading, but allow for a shooter to hold the trigger for         The aim of this study was to test whether curbing access to
     continuous fire [27]. Furthermore, the FAWB also prohibited           certain types of guns and magazines will decrease mass shooting
     certain ammunition magazines that were defined as                     events. We sought to empirically answer if there was a
     “large-capacity” cartridges [28] containing more than 10 bullets      relationship between the FAWB and a reduction in mass
     [29]. These LCMs can feed ammunition to semiautomatic                 shooting events.
     weapons that do not meet the criteria of being considered assault
     weapons. Furthermore, LCMs are considered one of the most             Methods
     important features of the FAWB as research has found a
     relationship between bans on LCMs and casualty counts at the          Data Source
     state level [30-34]. The 10-year federal ban was signed into law      We created a firearm surveillance system based on the National
     by President Clinton on September 13, 1994 [28].                      Institute of Justice–funded Violence Project dataset, which
     Firearm surveillance data have been used to test potential policy     culled mass shooting events from 1966 to 2019 [6]. Consistent
     responses to prevent mass shootings, including the FAWB               with earlier studies, we rely on the original Federal Bureau of
     [32,34-39], Extreme Risk Protection Orders (also known as red         Investigation (FBI) definition of a massacre, specifically where
     flag laws) [40-45], and federal and state LCM bans [31,32,46].        4 or more people are killed within a single timeframe. We
     In particular, it seems likely that the FAWB and LCM bans             differentiate our mass shootings from others in that our inclusion
     have potential to affect mass shootings because they regulate         criteria require the shootings to have occurred in a public setting.

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     We adapted this definition to only include massacres that              sample” exercise because even though the sample extends to
     involved gun deaths of 4 or more victims to isolate a particular       2019, the FAWB ended in 2004; thus, this exercise would not
     type of mass shooter [66]. Many firearm surveillance systems           pick up events in the past 15 years that would have augmented
     that include mass shootings use a lower threshold of persons           or compromised the effects of the FAWB. The difference
     shot and many do not include deaths. An FBI report on active           between the modeled number of public mass shootings and the
     shooters in mass shooting events identified planning and               projected counterfactual number of public mass shootings could
     preparation behaviors that are central to prevention [67]. This        provide an estimate of the number of public mass shootings that
     more narrow definition isolates premeditation, whereas broader         the FAWB prevented.
     definitions may include shooters that are more reactive [68].
                                                                            We performed a regression of the 5-year moving average of
     Our case definition does not include family annihilators or
                                                                            public mass shootings on the US population in millions, the
     felony killers because familicides are defined by the
                                                                            homicide rate, and discontinuity variables to capture both the
     victim-offender relationship, public massacres are defined by
                                                                            effects of the FAWB and its discontinuation. We did not
     location, and felony killings are distinguished by motive [69].
                                                                            introduce a trend line for the entire sample period because it is
     This differentiation is consistent with other mass shooting
                                                                            highly collinear with the population variable. For the period of
     studies [70-72].
                                                                            the FAWB’s implementation, we originally introduced an
     We examined the annual number of public mass shootings                 intercept shift, time trend, and shift in the homicide rate; for the
     occurring between 1966 and 2019 that resulted in 4 or more             post-FAWB period, we introduced an intercept shift and a time
     fatalities. The hypothesis was that the FAWB reduced the               trend. Due to collinearity, we retained only the trend shift in
     number of public mass shootings per year during the period of          the final model for the FAWB period; for the post-FAWB
     the ban. We used regression discontinuity analysis to test the         period, we retained both the intercept and the trend shift.
     hypothesis. Regression discontinuity analysis is a standard
     economist tool used in policy analysis taking advantage of             Results
     quasi-experimental designs [65,73].
                                                                            We identified a total of 170 public mass shooting events, the
     Analyses                                                               primary outcome variable, with 4 or more fatalities between
     Regression discontinuity analysis allows for discontinuities or        1966 and 2019. The 5-year cumulative number of public mass
     shifts in both the intercept and the slope of the trend line at both   shootings is shown in Figure 1, providing a visualization of the
     the onset and sunset of the FAWB. That is, we introduced               impacts of the FAWB on the number of shootings. The first
     intercept shift parameters in 1995 and 2005, and trend shift           mass shooting occurred in 1966; hence, the first data point for
     parameters for the periods 1995-2004 and 2005-2019. A                  the cumulative number of shootings over the previous 5 years
     statistically significant shift in a parameter indicates a             occurs in 1970. For 1966 and 1967, the cumulative number of
     discontinuity (ie, a finding that the FAWB had a statistically         public mass shootings was 3. This number then increased to 12
     significant effect on the number of public mass shootings). We         in 1993 and declined to 3 in 2004. After 2004, the cumulative
     tested for statistical significance of the intercept and trend shift   number of public mass shootings increased to 81 in 2019. The
     parameters both independently and jointly. All statistical             last year of the ban, 2004, experienced the fewest public mass
     inference was based on a significance level set at .05. We used        shootings through 2019.
     the Huber-White robust residuals, which attenuate problems of
                                                                            The regression results showed excellent explanatory power
     autocorrelation, heteroscedasticity, and some types of model
     misspecification [74].                                                 (R2=0.94). The coefficient on population was positive and
                                                                            statistically significant (.044, P<.001). This coefficient means
     We then used the estimated model for two types of                      that for every increase in population of 1 million people, there
     counterfactual analysis. First, we used the model to predict the       are an additional .044 public mass shooting events per year.
     number of public mass shootings that would have occurred had           The coefficient on the homicide rate was negative and
     the FAWB not been in place. The difference between this                statistically significant (–.249, P=.01). The coefficient on the
     counterfactual prediction and the modeled number of incidents          time trend for the FAWB period captures the effect of the
     with the FAWB in place provided an estimate of the number of           FAWB; this coefficient was negative and statistically significant
     public mass shootings that the FAWB prevented.                         (–.187, P=.001). Using prediction models in combination with
     Second, we projected forward the number of public mass                 regression slopes, we estimate that 11 public mass shootings
     shootings that would have occurred had the FAWB been                   were avoided due to the FAWB. The intercept discontinuity for
     permanent (ie, continued from 2004 through to the end of the           2005-2019 was negative and statistically significant (–2.232,
     sample period). We note that in some sense, this is an “out of         P=.001), and the trend coefficient was positive and statistically
                                                                            significant (.081, P=.001).




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     Figure 1. Public mass shooting trend line using five year moving averages (1966-2019).




     These results are graphed in Figure 2 in which the black stars             and the green lines represents the predicted number of public
     represent the actual data and the green line represents the                mass shootings averted by the FAWB. The model predicts that
     predicted numbers of public mass shootings from the regression             11 public mass shootings were averted over the period of
     discontinuity model. A bending of the trend during the FAWB                1995-2004.
     period to become downward sloping at the end of the period is
                                                                                The blue diamonds represent the projected effects of a
     apparent, as is the return of the upward trajectory upon
                                                                                continuation of the FAWB through 2019 based on the observed
     expiration of the FAWB. The red squares represent the projected
                                                                                trend from 1995 to 2004. This projection indicates that 30 public
     numbers of public mass shootings during the FAWB period had
                                                                                mass shootings would have been prevented from 2005 to 2019
     there been no FAWB. The difference between the red squares
                                                                                had the FAWB been left in place.
     Figure 2. Regression lines from discontinuity analysis of the federal assault weapons ban (1994-2004).




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                                                                         mass shootings was increasing. During enactment of the FAWB,
     Discussion                                                          there was a downward trend of mass shooting events. After the
     Principal Findings                                                  FAWB was lifted, public mass shootings increased dramatically.
                                                                         Firearm homicides in general follow no such patterns.
     In total, 1225 people were killed in a mass shooting over the
     past 53 years with more than half occurring in the last decade,     This effect was not found in the work of Koper, Roth, and
     a function of increases in mass shootings and weapon lethality      colleagues [53-55]; however, their inclusion of all gun homicides
     [62,63,75]. Public mass shooting fatalities and injuries far        masks the ban’s effect on mass shootings. Even though Peterson
     outpace population growth [75]. Between 1966 and 2019, the          and Densley’s [77] work focused on perpetrator histories and
     US population increased by 67% [76], whereas public mass            not the FAWB, their findings that ease of gun access is
     shooting deaths increased by over 5-fold. The rise in public        characteristic of public mass shooters further supports our study.
     mass shootings throughout the sample period is in fact partially    We restricted the inclusion criteria to public mass shootings to
     a function of population growth and homicide rate, along with       specifically test the effectiveness of the FAWB on public mass
     the effects of the FAWB and its removal. An increase in the US      shooting events.
     population of 1 million people was associated with an increase      Regardless of the FAWB, bringing a semiautomatic rifle with
     of .040 (P<.005) public mass shootings per year. During the         high magazine capacity to a massacre significantly increases
     post-FAWB period, the increase in population from                   the number of fatalities and injuries. The increase in deaths is
     approximately 300 million in 2005 to 330 million in 2019 should     a function of rapid fire and increased ballistic energy. The
     be associated with an increase of 1.2 public mass shootings per     increase in injuries is also a function of rapid fire and
     year, compared to the actual increase of 4 public mass shootings    high-capacity magazines, enabling the shooter to shoot more
     per year in the data (5-year moving average). After controlling     people in crowded venues quickly before the crowd can disperse
     for population growth and homicide rate, a positive and             or hide. When controlling for the FAWB, the use of assault
     statistically significant coefficient (.081, P=.001) on the         rifles decreased by half during implementation of the ban and
     2005-2018 trend was seen. This further indicates a separate,        tripled after the ban was lifted. This is a particularly important
     nonpopulation trend of increasing violence operating during         finding given that the FAWB had loopholes and that overall
     the post-FAWB period. The negative coefficient on the homicide      violent crime is decreasing [78]. First, all people with an assault
     rate invalidates the hypothesis that decreases in the numbers of    weapon prior to the FAWB were allowed to retain their
     public mass shootings are simply reflections of an overall          semiautomatic weapons [54,64]. Second, without a buyback
     decreasing homicide rate. The negative intercept discontinuity      program, semiautomatic weapons remained in the community
     is consistent with an effect of the FAWB that persists somewhat     [54,64]. Third, the ban did not target some military assault-like
     beyond the immediate end of the ban. The positive trend             weapons [54,64]. Finally, a major loophole found in gun control
     coefficient is consistent with the hypothesis that the FAWB was     legislation is that buyers can bypass background checks by
     associated with a decrease in the number of public mass             purchasing their weapons and ammunition from gun shows,
     shootings, as the expiration of the FAWB was associated with        through illegal purchasing, or legally purchasing their guns and
     a shift from a downward trend to an upward trend in the number      ammunition from another gun owner [57,63,79-87]. Even with
     of public mass shootings per year.                                  these loopholes and issues, there was still a significant reduction
     The most striking finding from this study is that there was a       in public mass shootings during the FAWB. These loopholes
     reduction in the number of public mass shooting events while        indicate that most people who purchase assault weapons do not
     the FAWB was in place. Using prediction models in                   become mass shooters; however, mass shooters require assault
     combination with regression slopes, we estimate that 11 public      weapons and LCMs to carry out a mass shooting. Ban
     mass shootings were avoided due to the FAWB. By projecting          effectiveness might have improved if all assault weapons were
     what would have happened if the FAWB remained in place, we          included in the FAWB.
     found that there would have been significantly fewer public         Some recent studies have specifically analyzed the effects of
     mass shootings if the FAWB had remained in place to 2019.           LCM bans on the incidence of public mass shootings. In a
     Remarkably, although it is intuitive that the removal of assault    review of state legislation, Webster et al [88] found that bans
     weapons and magazine clips will reduce the lethality of a mass      of LCMs were associated with a significant reduction in the
     shooting, we observed an inverse relationship between               incidence of fatal public mass shootings. This study shows that
     weapons/ammunition and mass shooting events, meaning that           the FAWB, which included a ban on LCMs, was associated
     mass shooters may be less likely to perpetrate a mass shooting      with fewer fatalities and injuries during mass shootings in
     without rapid fire military-style weapons. This is an independent   addition to fewer public mass shooting events. Koper et al [27]
     effect, which indirectly leads to fewer injuries and deaths.        previously reported that 19% of public mass shootings resulting
     DiMaggio et al [64] also found evidence of a decrease in public     in 4 or more fatalities included the use of LCMs, while only
     mass shootings during the ban; however, their study period was      10% involved an assault weapon. Klarevas et al [29] found a
     shorter and was restricted to 51 public mass shootings. Unlike      similar pattern in shootings of 6 or more people, in which 67%
     our study, they implicitly modeled public mass shootings as a       of shooters utilized LCMs, whereas only 26% utilized an assault
     random instance of general gun homicides that had a high death      weapon. Because our study only looked at effects of the FAWB,
     count [64]. In contrast, our findings suggest that public mass      which included an LCM ban, we were only able to determine
     shootings are a unique type of premeditated gun violence. We        the combined effects of limiting assault weapons and LCMs.
     found that prior to enactment of the FAWB, the rate of public       To be clear, the reduction in the number of public mass
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     shootings, and resulting fatalities and injuries, may be a function   resulted in better tracking of public mass shootings or increased
     of the ban on assault weapons, assault weapons plus LCMs, or          media coverage. Because our study specifically targeted the
     only LCMs. We cannot separate out their independent effects           federal legislation, we omitted state-level gun policies such as
     at the national level.                                                state-level prohibitions on certain types of guns, LCMs, or more
                                                                           lethal types of bullets. It is likely that the internet serves as a
     Unlike our study, Webster et al [88] did not evaluate the
                                                                           contagion and as a guide to potential mass shooters, allowing
     incidence of assault weapons used in public mass shootings.
                                                                           them to access weapons and multiple stories about other mass
     Rather, they focused on fatalities from public mass shootings
                                                                           shooters [62,67,89,90].
     vs public mass shooting events. Although Webster et al [88]
     utilized the FBI Supplemental Homicide Report as their dataset,       Conclusions
     which is a voluntary reporting measurement system prone to            In summary, public mass shootings are a unique and specific
     errors in reporting, their findings are applicable to our analysis.   type of homicide by a gun. We found evidence that public mass
     Limitations                                                           shootings are qualitatively different from general homicides
                                                                           because after the FAWB expired, mass shooting events increased
     Although we found statistically significant decreases during the
                                                                           while general homicides decreased. The increase in public mass
     FAWB, we cannot isolate aspects of the policy that are attributed
                                                                           shootings was more dramatic in the final 10 years of the study
     to the decline. Most notably, the FAWB also included LCMs
                                                                           period following the end of the FAWB. We suspect that these
     during the ban. It may be that the type of gun and/or the type
                                                                           outcomes may be improved by removing existing semiautomatic
     of magazine resulted in a decline. Indeed, assault weapons and
                                                                           weapons with large bullet capacity by creating a buyback
     LCMs provide the means to carry out a mass shooting; however,
                                                                           program for all rapid-firing weapons. Moreover, the legislation
     there are likely other factors beyond this study that partially
                                                                           would be strengthened if it closed loopholes that allow gun
     explain the radical increase in public mass shootings in the
                                                                           buyers to get around the background check legislation and other
     post-FAWB period. For example, the FAWB was in place from
                                                                           purchase prohibitions by exempting gun shows and internet or
     1994 to 2004, which is the same time period that the US
                                                                           person-to-person purchases, which were exempted from the
     population largely adopted the internet, along with associated
                                                                           FAWB and LCM ban [87].
     social communication software and websites. This may have

     Acknowledgments
     The Violence Project Mass Shooter database generated data for our surveillance. This study was financially supported by the
     Buehler Endowment at Feinberg School of Medicine.

     Conflicts of Interest
     None declared.

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     Abbreviations
               FAWB: Federal Assault Weapons Ban
               FBI: Federal Bureau of Investigation
               LCM: large-capacity magazine




               Edited by G Eysenbach, T Sanchez; submitted 19.02.21; peer-reviewed by T Alcorn; comments to author 12.03.21; revised version
               received 24.03.21; accepted 30.03.21; published 22.04.21
               Please cite as:
               Post L, Mason M, Singh LN, Wleklinski NP, Moss CB, Mohammad H, Issa TZ, Akhetuamhen AI, Brandt CA, Welch SB, Oehmke JF
               Impact of Firearm Surveillance on Gun Control Policy: Regression Discontinuity Analysis
               JMIR Public Health Surveill 2021;7(4):e26042
               URL: https://publichealth.jmir.org/2021/4/e26042
               doi: 10.2196/26042
               PMID: 33783360




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                                                                                                                                                          Opinion




                                           Regulating Assault Weapons and Large-Capacity Magazines
                    VIEWPOINT
                                           for Ammunition

                Philip J. Cook, PhD        Mass public shootings in the US account for a small frac-     The 1994 Federal Assault Weapons Ban extended the
                Duke University,           tion of all firearm-related homicides, but have an out-  regulationofmilitary-styleweaponstoincludesomesemi-
                Durham,                    sized role in stoking the public’s concern with firearm  automatic firearms. These weapons fire 1 round of am-
                North Carolina.
                                           violence. The vivid instances of attacks on people in    munition for each pull of the trigger, and are capable of
                                           churches, schools, and offices and at other public gath- firing at a rate of roughly 1 per second. The 1994 Assault
                John J. Donohue, PhD,
                JD                         ering places do vastly disproportionate damage to peace  Weapons Ban ended the legal manufacture and import of
                Stanford University,       of mind by creating a sense of peril in places that should
                                                                                                    specified firearms, as well as ammunition-feeding de-
                Stanford, California.      feel safe. These attacks have been increasing in fre-    vices (magazines) that held more than 10 rounds of am-
                                           quency and deadliness in recent years. As reducing this  munition. At the time, most prohibited assault weapons
                                           particular type of firearm violence becomes more ur-     were equipped with detachable magazines that held 30
                                           gent, the case for a variety of prevention measures be-  rounds and could accept magazines that could hold as
                Viewpoint pages 1177,
                                           comes even stronger.                                     many as 50 or 100 rounds, thus making it possible to fire
                1179, 1181, 1183, 1185,
                1187, 1189, 1193, 1195,         This Viewpoint focuses on a measure that is highly  dozens of rounds without pausing to reload.2
                and 1197 and Editorial     specific to the gun violence problem—stringent regula-        The 1994 federal ban on new assault weapons had
                page 1201                  tion of assault weapons and large-capacity magazines     gapingloopholes.First,thefederalbandidnotrestrictpos-
                                           (LCMs) for ammunition. Federal law banned the intro-     session or transactions of existing assault weapons and
                Supplemental               duction of new LCMs and military-style semiautomatic     LCMs. Second, manufacturers found ways to slightly
                content                    firearms between 1994 and 2004, but that regulation      modify the design of some of the banned weapons so that
                                           ended in 2004 and Congress did not renew it. Now, years  they met the letter of the law while preserving the military
                                           later, the nation is experiencing the dire effects of op-appearance and the possibility of accepting LCMs and
                                           ening the door to the manufacture and import of these    firing high-powered ammunition quickly. Still, there is evi-
                                           weapons; it is time to close that door.                  dence that the ban had some salutary effect on mass
                                                                                                    public shootings.
                                           History and Current Status of Bans                            The LCM ban, also in effect during 1994 to 2004,
                                           The history of federal bans on weapons of mass was not subject to the redesign problem because it pro-
                                           destruction goes back to the 1934 National Firearms vided a bright line that was difficult for manufacturers
                                           Act. Among other provisions, the Act required sub- to overcome. There were, however, an estimated 25 mil-
                                           machine guns and other firearms capable of fully lion LCMs in circulation when the ban was enacted, and
                                                                                                                      those remained in circulation, but with no
                                                                                                                      new additions.2 It was not just assault
                                           Current estimates suggest that                                             weapons     (as defined) that were de-
                                                                                                                      signed to use LCMs, but a variety of other
                                           approximately 20 million assault                                           semiautomatic firearms as well, so the
                                           weapons are owned by private                                               LCM ban had much broader scope.
                                                                                                                           When the law expired in 2004,
                                           individuals in the US, with millions                                       manufacturing and importations of LCMs
                                           of new assault weapons manufactured                                        and previously banned weapons re-
                                           and imported each year.                                                    sumed, and a surge of sales followed.
                                                                                                                      Current estimates suggest that approxi-
                                           automatic fire (ie, firing several shots with a single mately 20 million assault weapons are owned by pri-
                                           pull of the trigger) to be registered with the federal vate individuals in the US, with millions of new assault
                                           government.1 All transactions involving such weapons weapons manufactured and imported each year.3 The
                                           were taxed at $200, a high confiscatory amount at the industry initially advertised these weapons as “assault
                                           time. The registration and tax requirement remained in rifles,” and continues to promote them with military al-
                                           place, although inflation has substantially undercut the lusions but has now rebranded this type of weapon as
                                           force of the transfer fee. The Act was expanded by the “modern sporting rifle.”
                                           Congress in 1986 to end the sale of new fully automatic       Seven states have some version of a ban or stringent
                Corresponding
                Author: Philip J.          weapons. There is every reason to believe that these restrictions on assault weapons: California, Connecticut,
                Cook, PhD, Sanford         restrictions have been effective. Even though the Hawaii, Maryland, Massachusetts, New Jersey, and
                School of Public Policy,   Thompson submachine gun was a notorious gangster New York, as well as the District of Columbia.4 These laws
                Duke University,
                                           weapon in the 1920s, fully automatic weapons of any are being challenged in the courts as a violation of the
                PO Box 90545,
                Durham, NC 27708           kind are rarely used in crime in modern times or in mass Second Amendment, but have survived these chal-
                (pcook@duke.edu).          public shootings.1                                       lenges to date.

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                Opinion Viewpoint



                Evidence of Potential Effectiveness of a National Ban                           ing in Port Arthur, Tasmania, in which a young man killed 35 people
                A review conducted by the RAND Corporation concluded that the                   with a semiautomatic rifle. Swift action by the federal and state leg-
                handful of published studies on the effect of the ban on mass pub-              islatures produced legislation that banned not only manufacture and
                lic shootings was “inconclusive” due in part to flaws in the analysis           import, but private possession of semiautomatic rifles. To ease the
                used by the 3 studies with positive findings.4 But it is unlikely the           transition, a series of firearm buybacks were instituted, and 1 million
                surge in mass public shootings that involved assault weapons and                weapons were ultimately relinquished, estimated to be one-third of
                LCMs that occurred after the ban would have happened if the ban                 all privately owned guns. Australia had 11 mass shootings during the
                had remained in place. The logic is straightforward. The sales of these         decade prior to the ban,9 and 1 since then (a family killing in 2018 that
                weapons, which had declined during the ban, expanded greatly fol-               would not count as a mass public shooting by the US definition).
                lowing its repeal, making them more widely available to everyone                     The Australian experience is illustrative as a proof of concept for
                including would-be mass murderers.                                              other countries, including the US. Of note, the ban covered all semi-
                      To document recent trends in such mass public shootings re-               automatic rifles, not just those with the specific features sugges-
                quires a precise definition. One common definition for mass pub-                tive of use in warfare as opposed to hunting. The ban on posses-
                lic shootings has several elements,5,6 including: (1) a minimum of              sion of existing guns rather than only on the introduction of new guns
                4 homicides; (2) a public location; and (3) circumstance not attrib-            greatly accelerated its apparent effectiveness.
                utable to robbery, other felonious activity, or commonplace con-
                flict in families or among acquaintances. A comprehensive compi-                Potential Next Steps
                lation of such events is the Violence Project’s database of mass                On July 29, 2022, the US House of Representatives passed the
                shootings in the US,7 which includes the number of people killed and            Assault Weapons Ban of 2022. To a large extent this bill reinsti-
                injured in each event and the type of weapon or weapons used.                   tuted the 1994 ban, including the ban on the sale of new semiauto-
                      Information from this database indicates that in the years fol-           matic firearms deemed to be assault weapons, and of new LCMs
                lowing when the law expired in 2004, the number of mass shoot-                  holding more than 10 rounds. An important innovation is that for
                ing incidents greatly increased and the number of fatalities in-                LCMs, the bill only allows continued possession and use of existing
                creased even more. During the period from 2015 to 2019, the number              devices, but not transfer. However, given the reality that the US Sen-
                of incidents reached 33 (or 6.6 per year), which was almost twice               ate will not enact this bill, it is useful to consider other approaches.
                the number during the decade the Federal Assault Weapons Ban                         States could institute or expand assault weapon bans. Indeed,
                was in effect (eFigure and eTable in the Supplement). The number                just a ban on LCMs would be a promising first step, impeding ac-
                of fatalities from shootings that involved banned weapons de-                   cess to these products by individuals who could otherwise use them
                creased during the second half of the ban (2000-2004) and then                  to fire multiple rounds of ammunition at large numbers of people
                surged during subsequent periods, reaching a total of 271 during                before law enforcement can be mobilized to stop the killing.
                2015 to 2019. It was during that 5-year interval from 2015 to 2019
                that 5 of the top-10 deadliest mass public shootings in US history oc-          Conclusions
                curred, and all were committed with assault weapons.8 The num-                  In 2017, the New York Times polled “32 current or retired academics
                ber of fatalities resulting from mass public shootings with other weap-         in criminology, public health and law, who have published exten-
                ons has remained relatively flat.                                               sively in peer-reviewed academic journals on gun policy”10 to ask
                                                                                                them what measures would be most effective in dealing with the
                The Australian Ban on Rapid-Fire Weapons                                        mass shooting problem in the US, and an assault weapons ban was
                The Australian experience has factored into the debate over reinsti-            deemed overall by this panel to be the single most effective mea-
                tuting the assault weapons ban in the US. In Australia, the impetus             sure. The evidence in support of a ban has grown tragically stron-
                for banning semiautomatic weapons was a 1996 mass public shoot-                 ger since then.10


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                Conflict of Interest Disclosures: Dr Donohue        AR-15-style rifles. Accessed September 6, 2022.        database/
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                                              ORDINANCE NO. 68-13
                  AN ORDINANCE AMENDING CHAPTER 134 OF "THE HIGHLAND PARK
                    CODE OF 1968," AS AMENDED, REGARDING ASSAULT WEAPONS

      WHEREAS, Chapter 134 of "The Highland Park Code of 1968," as amended ("City Code'~, regulates the
manufacture, sale, and possession of firearms in the City; and

        WHEREAS, the Constitution of the United States of America and the Constitution of the State of Illinois
afford certain protections related to the ownership of firearms; and

       WHEREAS, in District of Columbia u. Heller, the United States Supreme Court recognized that the
Constitutional protections related to firearm ownership is not unlimited, and can be subject to certain types of
governmental regulations; and

         WHEREAS, in its Heller decision, the United States Supreme Court specifically acknowledged that the
protections afforded by the Second Amendment to the Constitution of the United States does not extend to all types
of firearms; and

       WHEREAS, many courts throughout the nation have upheld local regulations restricting or prohibiting the
ownership or possession of assault weapons, including, without limitation, the State of Illinois Appellate Court, the
United States District Court for the District of Columbia, and the Court of Appeals for the State of California; and

       WHEREAS, recent incidents in Aurora, Colorado; Newtown, Connecticut; Tucson, Arizona; and Santa
Monica, California demonstrate that gun violence is not limited to urban settings, but is also, tragically, a reality in
many suburban and small town locations as well; and

       WHEREAS, the City Council has determined that assault weapons are not traditionally used for self-
defense in the City of Highland Park, and that such weapons pose an undue threat to public safety to residents,
property owners, and visitors within the City of Highland Park; and

       WHEREAS, the City has previously encouraged the Governor and the Illinois General Assembly to enact
statewide legislation banning the sale and possession of assault weapons; and

      WHEREAS, to date, the State has failed to enact a statewide ban on the sale or possession of assault
weapons; and

        WHEREAS, on May 31, 2013, the Illinois General Assembly approved House Bill 183, as amended, which
Bill contains a provision that would preempt the home rule authority of the City to regulate the possession or
ownership of assault weapons, unless the City adopts such a regulation not later than 10 days after House Bill 183
becomes law; and

       WHEREAS, pursuant to the home rule powers of the City, and in order to protect both the home rule
authority of the City and the public safety and welfare, the City Council desires to amend Chapter 134 of the City
Code to prohibit the manufacture, sale, ownership, acquisition, or p·ossession of assault weapons within the City;
and

       WHEREAS, the City Council has determined that it will serve and be in the best interest of the City and its
residents to amend the City Code pursuant to this Ordinance;

     NOW, THEREFORE, BE IT ORDAINED BY THE CITY COUNCIL OF HIGHLAND PARK, LAKE
COUNTY, STATE OF ILLINOIS, as follows:

       SECTION ONE:            RECITALS. The foregoing recitals are incorporated into, and made a part of, this
Ordinance as the findings of the City Council.

        SECTION TWO:                FIREARMS CONTROL. Chapter 134, entitled "Handgun Control," of Title XIII,
entitled 11 :rvfisdemeanors," of the City Code is hereby re-titled "Firearms Control".
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        SECTION THREE: ASSAULT WEAPONS AND LARGE CAPACITY MAGAZINES. Chapter 134,
entitled "Firearms Control," of Title XIII, entitled "Misdemeanors," of the City Code is hereby amended to add a new
Section 134.010, which Section 134.010 hereafter reads as follows:

        "Sec. 134.010 Assault Weapons and Large Capacity Magazines.

                (A)    Whenever the following words and phrases are used, they shall, for purposes of this
        Section 134.010, have the meanings ascribed to them in this Section 134.0lO(A), except when the
        context otherwise indicates.

                       (1)     "Assault Weapon" means

                              (a)    A semiautomatic rifle that has the capacity to accept a large capacity
        magazine detachable or otherwise and one or more of the following:

                                       (i)    Only a pistol grip without a stock attached;

                                      (ii)    Any feature capable of functioning as a protruding grip that
                                              can be held by the non-trigger hand;

                                     (iii)    A folding, telescoping or thumbhole stock;

                                     (iv)     A shroud attached to the barrel, or that partially or
                                              completely encircles the barrel, allowing the bearer to hold
                                              the firearm with the non-trigger hand without being burned,
                                              but excluding a slide that encloses the barrel; or

                                      (v)     A muzzle brake or muzzle compensator;

                               (b)    A semiautomatic pistol or any semi-automatic rifle that has a fixed
        magazine, that has the capacity to accept more than ten rounds of ammunition;

                             (c)     A semiautomatic pistol that has the capacity to accept a detachable
        magazine and has one or more of the following:

                                       (i)    Any feature capable of functioning as a protruding grip that
                                              can be held by the non-trigger hand;

                                      (ii)    A folding, telescoping or thumbhole stock;

                                     (iii)    A shroud attached to the barrel, or that partially or
                                              completely encircles the barrel, allowing the bearer to hold
                                              the firearm with the non-trigger hand without being burned,
                                              but excluding a slide that encloses the barrel;

                                     (iv)     A muzzle brake or muzzle compensator; or

                                      (v)     The capacity to accept a detachable magazine at some
                                              location outside of the pistol grip;

                               (d)     A semiautomatic shotgun that has one or more of the following:

                                       (i)    Only a pistol grip without a stock·attached;

                                      (ii)    Any feature capable of functioning as a protruding grip that
                                              can be held by the non-trigger hand;

                                     (iii)    A folding, telescoping or thumbhole stock;

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                                 (iv)    A fixed magazine capacity in excess of five rounds; or

                                 (v)     An ability to accept a detachable magazine;

                           (e)    Any shotgun with a revolving cylinder;

                      (f)     Conversion kit, part or combination of parts, from which an assault
  weapon can be assembled if those parts are in the possession or under the control of the same
  person;

                           (g)    Shall include, but not be limited to, the assault weapons models
  identified as follows:

                                  (i)    The following rifles or copies or duplicates thereof:

                                         (A)        AK, AK,_\1, AKS, AK-47, AK-74, ARM, MAK90, Misr,
                                                    NHM 90, NHM 91, SA 85, SA 93, VEPR;

                                         (B)        AR-10;

                                         (C)        AR-15, Bushmaster Xl\115, Armalite Ml5, or Olympic
                                                    Arms PCR;

                                         (D)        AR70;

                                         (E)        Calico Liberty;

                                         (F)        Dragunov SVD Sniper Rifle or Dragunov SVU;

                                         (G)        Fabrique National FN/FAL, FN/LAR, or FNC;

                                         (H)        Hi-Point Carbine;

                                         (I)        HK-91, HK-93, HK-94, or HK-PSG-1;

                                         (J)        Kel-Tec Sub Rifle;

                                         (K)        Saiga;

                                         (L)        SAR-8, SAR-4800;

                                         (M)        SKS with detachable magazine;

                                         (N)        SLG 95;

                                         (0)        SLR 95 or 96;

                                         (P)        Steyr AUG;

                                         (Q)        Sturm, Ruger Mini-14;

                                         (R)        Tavor;

                                         (S)        Thompson 1927, Thompson Ml, or Thompson 1927
                                                    Commando; or

                                          (T)       Uzi, Galil and Uzi Sporter, Galil Sporter, or Galli
                                                    Sniper Rifle (Galatz).


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                                (ii)           The following pistols or copies or duplicates thereof:

                                               (A)       Calico M-110;

                                               (B)       MAC-10, MAC-11, or MPA3;

                                               (C)       Olympic Arms OA;

                                               (D)       'rEC-9, TEC-DC9, TEC-22 Scorpion, or AB-10; or

                                               (E)       Uzi.

                                (iii)          The following shotguns or copies or duplicates thereof:

                                               (A)       Armscor 30 BG;

                                               (B)       SPAS 12 or LAW 12;

                                               (C)       Striker 12; or

                                               (D)       Streetsweeper.

                  "Assault weapon" does not include any firearm that has been made permanently
  inoperable, or satisfies the definition of "antique firearm," stated in Section 134.001 of this Chapter,
  or weapons designed for Olympic target shooting events.

                 (2)     "Detachable :Yiagazine" means any ammunition feeding device, the function
  of which is to deliver one or more ammunition cartridges into the firing chamber, which can be
  removed from the firearm without the use of any tool, including a bullet or ammunition cartridge.

                  (3)    "Large Capacity Magazine" means any ammunition feeding device with the
  capacity to accept more than ten rounds, but shall not be construed to include the following:

                      (a)     A feeding device that has been permanently altered so that it cannot
  accommodate more than ten rounds.

                          (b)           A 22 caliber tube ammunition feeding device.

                          (c)           A tubular magazine that is contained in a lever-action firearm.

                  ( 4)     "Muzzle Brake" means a device attached to the muzzle of a weapon that
  utilizes escaping gas to reduce recoil.

                   (5)    "Muzzle Compensator" means a device attached to the muzzle of a weapon
  that utilizes escaping gas to control muzzle movement.

         (B)     No person shall manufacture, sell, offer or display for sale, give, lend, transfer
  ownership of, acquire or possess any assault weapon or large capacity magazine. This Section
  134.0lO(B) shall not apply to:

                  (1)    The sale or transfer to, or possession by any officer, agent, or employee of the
  City or any other municipality or state or of the United States, members of the armed forces of the
  United States, or the organized militia of this or any other state; or peace officers, to the extent that
  any such person named in this Section 134.0lO(B)(l) is otherwise authorized to acquire or possess
  an assault weapon and/or large capacity magazine and does so while acting within the scope of his
  or her duties; or



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                         (2)    Transportation of assault weapons or large capacity magazine if such
            weapons are broken down and in a nonfunctioning state and are not immediately accessible to any
            person.

                   (C)    Any assault weapon or large capacity magazine possessed, sold or transferred in
           violation of Section 134.0lO(B) of this Chapter is hereby declared to be contraband and shall be
           seized and destroyed of in accordance with the provisions of Section 134.0lO(E) of this Chapter.

                   (D)     Any person who, prior to the effective date of this Section 134.010, was legally in
           possession of an assault weapon .or large capacity magazine prohibited by this Section 134.010 shall
           have 90 days from the effective date of this Section 134.010 to do any of the following without being
           subject to prosecution hereunder:

                            (1)   To remove the assault weapon or large capacity magazine from within the
           limits of the City;

                           (2)    To modify the assault weapon or large capacity magazine either to render it
           permanently inoperable or to permanently make it a device no longer defined as an assault weapon
           or large capacity magazine; or

                            (3)     To surrender the assault weapon or large capacity magazine to the Chief of
           Police or his or her designee for disposal as provided in Section 134.0l0(E) of this Chapter.
                   (E)     The Chief of Police shall cause to be destroyed each assault weapon or large capacity
           magazine surrendered or confiscated pursuant to this Section 134.010; provided, however, that no
           firearm or large capacity magazine shall be destroyed until such time as the Chief of Police
           determines that the firearm or large capacity magazine is not needed as evidence in any matter. The
           Chief of Police shall cause to be kept a record of the date and method of destruction of each Firearm
           or Large Capacity Magazine destroyed pursuant to this Chapter.
                   (F)    The violation of any provision of this Section 134.010 is a misdemeanor, punishable
           by not more than six months imprisonment or a fine of not less than $500 and not more than $1000,
           or both."
       SECTION FOUR: PUBLICATION. The City Clerk shall be, and is hereby, directed to publish this
Ordinance in pamphlet form pursuant to the Statutes of the State of Illinois.
       SECTION FIVE: EFFECTIVE DATE. This Ordinance shall be in f~ll force and effect from and after its
passage, approval, and publication in the manner provided by law.

AYES:                     Mayor Rotering, Councilman Stone, Kaufman, Frank, Blumberg, Knobel

NAYS:                      Councilman Kaftzger

ABSENT:                    None

PASSED:                   June 24, 2013

APPROVED:                 June 24, 2013

PUBLISHED IN PAMPHLET FORM: June 25, 2013

ORDINANCE NO.: 68-13


ATTEST:




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